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                                                         SEALED

                        EXHIBIT
                                2


   Exhibit to Defendants' Opposition to Plaintiffs' Motion for
                      Class Certification

  In re: Marriott International Customer Data Security Breach
                Litigation, MDL No. 19-md-2879
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    Southern Division

 IN RE: MARRIOTT                                 *
 INTERNATIONAL, INC.
 CUSTOMER DATA SECURITY                          *
 BREACH LITIGATION
                                                 *
                                                       MDL No.: 19-md-2879
 THIS DOCUMENT RELATES TO                        *
 THE CONSUMER TRACK                                    JUDGE GRIMM
                                                 *
 *      *    *     *     *     *    *     *             *     *    *     *     *     *    *     *

 DECLARATION OF CATHERINE TUCKER, PH.D., VERIFYING AND ADOPTING
                        EXPERT REPORT

        I, Catherine Tucker, Ph.D., declare:


     1. I have been retained by counsel for Defendants as an expert in this matter. A true and

        correct copy of my expert report titled “Expert Report of Catherine Tucker, Ph.D.” is

        attached hereto as Exhibit 1. I hereby adopt its contents and affirm that the statements

        contained therein are true and correct to the best of my knowledge and belief.


     I declare under penalty of perjury under the laws of the United States that the foregoing is

     true and correct and that this declaration was executed on the 7 of September, 2021 in

     Cambridge, Massachusetts.


September 7, 2021




By: ______________________
       Catherine Tucker, Ph.D.
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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                             Southern Division




IN RE: MARRIOTT INTERNATIONAL
CUSTOMER DATA BREACH LITIGATION

                                        MDL No.: 19-md-2879




                Expert Report of Catherine Tucker, Ph.D.

                           September 7, 2021
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 I.    Introduction

      A. Qualifications

1.    I am the Sloan Distinguished Professor of Management Science and Professor of Marketing at

      MIT Sloan at the Massachusetts Institute of Technology (“MIT”) in Cambridge,

      Massachusetts. I received an undergraduate degree in Politics, Philosophy and Economics from

      Oxford University in the United Kingdom. I received a Ph.D. in Economics from Stanford

      University in 2005. I have been at MIT since completing my Ph.D.

2.    My academic specialty lies at the intersection between the economics of the new digital

      economy and the economics of digital data, privacy, and security. I have conducted multiple

      studies on how consumers act on privacy and information security concerns in digital

      environments.

3.    I am a Co-Editor at Quantitative Marketing and Economics, Associate Editor at Management

      Science, Journal of Marketing Research, and Marketing Science, and a Co-Editor of the

      National Bureau of Economic Research’s volume on the Economics of Digitization. I have

      published multiple peer-reviewed academic papers on the topic of the economics of privacy

      and information security in leading management and economics journals, including Science,

      Journal of Political Economy, Information Systems Research, Journal of Policy Analysis and

      Management, Journal of Economics and Strategy, Management Science, and the RAND

      Journal of Economics. I have also been on the program committee for the Workshop on the

      Economics of Information Security since 2008. I received a National Science Foundation

      CAREER Award, which is the National Science Foundation’s most prestigious award in

      support of junior faculty who “exemplify the role of teacher-scholars through outstanding
      research, excellent education and the integration of education and research within the context

      of the mission of their organizations,” for my research on digital privacy and information

      security.




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4.   I have testified twice before Congress on factors influencing privacy and the use of digital data

     and have presented my research on privacy to the Federal Trade Commission, the Federal

     Communications Commission, the European Commission, the UK Competition and Markets

     Authority, and the OECD.

5.   Further details of my experience are in my curriculum vitae, which is attached as Appendix A

     to this report. It includes a list of my publications. I also include in Appendix A a list of other

     cases in which I have testified as an expert by trial or deposition in the last four years.

6.   I am being compensated for my services in this matter at my customary hourly rate of $1,250.

     In preparing this report, I have been assisted by certain employees of Analysis Group. Analysis

     Group is being compensated for its time in this matter at an hourly rate ranging between $350

     and $645 an hour. As an expert affiliated with Analysis Group, I receive a proportion of their

     total billing. Neither my compensation nor the compensation of Analysis Group is dependent

     on any outcome or opinions expressed in this case.

7.   Since my work on this matter and this litigation are ongoing, I may review additional materials

     produced subsequently to the issuance of this report or conduct further analysis. I reserve the

     right to update, refine, or revise my opinions, or form additional opinions, including in

     response to plaintiffs’ experts and any additional information I may receive.

8.   A list of the materials I have considered to date in developing my opinions contained in this

     report is attached as Appendix B.




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     B. Assignment

9.   I have been asked by counsel for Marriott and Accenture to:

     a. Assess the expert report submitted by plaintiffs’ expert Jeffrey Prince (the Prince Report)1

         and its reliance on a report submitted by Sarah Butler (the Butler Report).2

     b. Analyze whether the plaintiffs’ proposed methods for assessing damages can be assessed

         formulaically for an entire class or whether an individualized inquiry would be necessary

         to determine whether and to what extent any class member suffered any such damages.

     C. Summary of Plaintiffs’ Allegations

10. In November 2018, Marriott announced there had been unauthorized access to Starwood’s

     guest reservation database.3 The PCI Forensic Investigator determined that four data tables in

     the guest reservation database had been accessed.4 I refer to these tables as the Four Tables and

     the data in them as the Four Tables Data. For this litigation, Marriott produced a subset of data

     from the Four Tables that attempted to identify records containing the bellwether plaintiffs’

     information from the Four Tables Data.5 I refer to this information as the Four Tables Data

     Production. Plaintiffs have moved to certify thirteen classes under the laws of seven states,

     seeking to represent residents of those states “whose Personal Information, given to Starwood



 1
     Expert Class Certification Report of Jeffrey T. Prince, Ph.D., In Re: Marriott International Inc., Customer Data
     Security Breach Litigation, MDL No. 19-md-2879, July 12, 2021 (hereafter, “Prince Report”).
 2
     Expert Report of Sarah Butler, In Re: Marriott International Inc., Customer Data Security Breach Litigation,
     MDL No. 19-md-2879, July 12, 2021.
 3
     Marriott News Center, “Marriott Announces Starwood Guest Reservation Database Security Incident,”
     November 30, 2018, available at https://news.marriott.com/news/2018/11/30/marriott-announces-starwood-
     guest-reservation-database-security-incident.
 4
     Verizon Report, MI_MDL_00000001–205 at 005–006.
 5
     Counsel informs me that the file labeled MI_MDL_02496938 and titled “HIGHLY CONFIDENTIAL
     PURSUANT TO PROTECTIVE ORDER - Results of Four Tables Queries (per ECF 729) - Copy.xlsx” was
     produced from the combined Four Tables from agreed-to searches in the data that Marriott produced in
     litigation pursuant to a stipulation between the parties. See Stipulations Regarding Marriott’s Searching for
     Information in NDS Database & Consumer Plaintiffs’ Responses to Discovery Questions, ECF No. 729, In
     Re: Marriott International Inc., Customer Data Security Breach Litigation, MDL No. 19-md-2879, January
     28, 2021, ¶¶ 19-23; and HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER - Results of
     Four Tables Queries (per ECF 729)                             (hereafter “Four Tables Data Production”),
     MI_MDL_02496938.


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      in connection with the making of a reservation at a Starwood Property, was compromised in a

      data breach announced by Marriott.”6

11. The Prince Report proposes two models that purport to present classwide methods to calculate

      damages.7 First, the Prince Report uses a model I refer to as the “Loss of Value” model to

      purport to measure market prices for a grouping of data fields that were in the Four Tables,

      including “name, address, age, email address, phone number, whether one has children, and

      credit card information,”8 which model plaintiffs describe as capturing the “diminishment in

      the value of their PII.”9 Second, the Prince Report uses a model I refer to as the “Benefit of

      the Bargain” model to measure damages, which plaintiffs describe as “the overpayment related
      to staying at hotels that did not secure their data as promised.”10 Plaintiffs assert that fraud and

      mitigation damages would be individualized.11




 6
      Corrected Memorandum in Support of Bellwether Plaintiffs’ Motion for Class Certification, In Re: Marriott
      International Inc., Customer Data Security Breach Litigation, MDL No. 19-md-2879, July 19, 2021
      (hereafter, “Corrected Memorandum in Support of Bellwether Plaintiffs’ Motion for Class Certification”),
      pp. 4–7.
 7
      Prince Report, Section X, and Section XI.
 8
      Prince Report, ¶ 137.
 9
      Corrected Memorandum in Support of Bellwether Plaintiffs’ Motion for Class Certification, p. 3.
 10
      Corrected Memorandum in Support of Bellwether Plaintiffs’ Motion for Class Certification, p. 3.
 11
      Corrected Memorandum in Support of Bellwether Plaintiffs’ Motion for Class Certification, p. 3.


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 II. Summary of Opinions

12. Based on my expertise and analysis, I have reached the following opinions:

13. The Prince Report’s two methods to assess classwide damages are flawed and incapable of

     producing reliable results for determining classwide damages.

     a. The Prince Report’s Loss of Value model is flawed for the following reasons.

                    i. First, individual data is non-rival and its theft does not reduce its economic

                       value to the individual. See Section III.A.

                   ii. Second, the Loss of Value model’s failure to consider that many data

                       brokers offer data records at a zero price renders its conclusions unreliable.

                       The Prince Report acknowledges that some online data brokers offer data

                       records for free but ignores the data brokers when selecting benchmark

                       market values of data records to apply to the Loss of Value model. While

                       the Prince Report attempts to justify ignoring free data brokers by claiming

                       that the Four Tables contain accurate data, the data on the bellwether

                       plaintiffs alone demonstrates that the Four Tables contain inconsistent,

                       inaccurate, and outdated data. The Prince Report further attempts to justify

                       ignoring free data brokers by claiming that such brokers tend to offer only

                       individual records rather than bulk mailing lists. But the Prince Report’s

                       Loss of Value model is purporting to estimate an individual measure of

                       damages. Moreover, the Loss of Value model itself relies on sources that

                       offer individual records for its calculation of credit card value, which

                       undercuts any attempt to justify excluding free data brokers on account of

                       their offering individual records. The Prince Report’s failure to

                       convincingly argue that non-zero-priced data brokers should be ignored

                       leaves open the question of whether the data has inherent value and calls

                       into question the entire premise of the Loss of Value model. See Section

                       III.B.

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          iii. Third, the Loss of Value model fails to measure the market price of

              underlying data from the non-zero price data brokers it focuses on, or the

              factors absent from the Four Tables that contribute to the market values of

              the benchmark sources the Prince Report applies to the Loss of Value

              model. Those benchmark sources offer:

                  1. Customizable solutions for identifying marketing prospects geared

                       toward the needs of the specific client. In contrast, the Four Tables

                       represents an unwieldy collection of data with little to no unifying

                       features;

                  2. The ability to refine the desired list and target a specific segment of

                       the population. In contrast, the Four Tables have no such capability;

                       and/or

                  3. A promise that the data is accurate. In contrast, the Four Tables are

                       neither uniformly accurate nor up to date.

              Because each factor generates value for a client of these benchmark

              companies, the price set by the data brokers reflects each of these factors.

              The Prince Report ignores these factors and fails to disclose any method for

              separating the value of these factors from the value of the underlying data.

              By assigning the full market value to the data in the Four Tables, the Prince

              Report attributes characteristics to the Four Tables that they do not have and

              therefore fails to estimate the value of the data records in the Four Tables.

              Furthermore, each data broker has a wide array of data. However, the Prince

              Report applies the entire market value of the data brokers’ lists to a subset

              of their contents. As a matter of economics, the value of a bundled good is

              not a reliable measure of the value of components of the bundled good. The

              Loss of Value model therefore represents an unreliable method. See Section

              III.C.


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          iv. Fourth, the payment card values the Prince Report identifies from the Dark

              Web cannot be reasonably applied to the payment card information in the

              Four Tables. The Dark Web sources identify a market value to a criminal

              purchase of usable payment card information, but the Prince Report offers

              no explanation for why such illicit market information should apply to

              encrypted or expired payment card values that are not usable, or to

              individual consumers who would not sell the information to criminal

              purchasers. See Section III.D.

          v. Fifth, the theory of harm underlying the Loss of Value model is inconsistent

              with the data sources the model relies upon. Professor Prince testified

              during deposition that the theory of harm reflects the lost opportunity

              individuals have to sell their data. However, the data brokers the Prince

              Report uses for its benchmark market values do not derive information from

              individuals looking to sell their information. The Prince Report estimates

              harm using market values that have no relationship to the price individuals

              could receive for their data. The Loss of Value model therefore does not

              estimate the harm proposed class members suffered from a lost opportunity

              to sell their data. See Section III.E.

          vi. Sixth, applying the Loss of Value model requires record-by-record inquiry

              to identify the set of data for each bellwether plaintiff that may have value.

              The Four Tables Data requires record-by-record inquiry to first identify to

              which proposed class member the data relates, and then to separate outdated

              and inaccurate data from active data that may still be relevant to a proposed

              class member. See Section III.F.




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     b. The Prince Report’s “Benefit of the Bargain” model is similarly flawed.

                       i. The Prince Report’s “Benefit of the Bargain” model attempts to estimate

                           market-specific hotel prices by modeling supply and demand “in a ‘but for’

                           world where consumers had known about Defendants’ alleged security

                           deficiencies.”12 The Prince Report then compares the price estimates

                           derived from the model with current prices for Starwood hotel rooms listed

                           on Expedia to predict by how much Starwood allegedly overcharged its

                           guests.

                      ii. The demand-side of Benefit of the Bargain model relies on a conjoint survey

                           from the Butler Report to estimate customers’ willingness to pay for data-

                           security in the hotel market. But conjoint surveys fail in the data-security

                           context because of the privacy paradox: consumers state they care more

                           about privacy in surveys than their actual behavior suggests. The Benefit of

                           the Bargain model’s reliance on an unreliable input renders its conclusions

                           unreliable. See Section IV.A.

                     iii. The Benefit of the Bargain model relies on supply-side inputs that may not

                           be available and require a time-consuming, record-by-record analysis for

                           every hotel stay for the entire class. Furthermore, the Prince Report fails to

                           acknowledge that data limitations may preclude the implementation of the

                           model for each class member and does not explain how it would address

                           such data limitations. See Section IV.B. Specifically,

                               1. For each of the millions of hotel stays of the proposed class, the

                                     Benefit of the Bargain model requires defining a set of competitor

                                     hotels for each reservation, as well as contemporaneous prices of

                                     those competitor hotels while replicating the booking window for

                                     each reservation. The Prince Report fails to disclose how it would

12
     Prince Report, ¶ 95, and Section X.


                                                      8
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                   identify contemporaneous sets of competitor hotels for each of the

                   1,200-1,500 Starwood properties that operated during the class

                   period. The Prince Report fails to identify any data source that

                   would allow it to collect prices for each competitor hotel at the time

                   of booking for each reservation of each proposed class member. The

                   Prince Report fails to disclose how it would address instances where

                   historical hotel prices could not be found. The Prince Report

                   therefore fails to demonstrate that the Benefit of the Bargain model

                   can be applied classwide.

                2. The Benefit of the Bargain model also includes an “outside option,”

                   which theoretically captures the broader set of available hotels in a

                   given market. The Prince Report relies on a single analysis to

                   develop the number of hotels within a market. The analysis,

                   however, is specific to the Las Vegas leisure market, and the authors

                   of the analysis caution against generalizing the study’s conclusions

                   beyond the Las Vegas area. According to the analysis relied upon

                   by the Prince Report, therefore, implementing the Benefit of the

                   Bargain model requires a further individual assessment of the 1,200-

                   1,500 Starwood properties to define a reasonable estimate for the

                   “outside option.” Furthermore, because demand for hotel rooms

                   varies from market to market depending upon a variety of factors

                   such as seasonality, conventions, school schedules, and business

                   versus personal travel, assessing the outside option for reservations

                   made at the same hotel at different times will require separate

                   analyses. Defining the outside option would therefore require a

                   time-intensive, reservation-by-reservation inquiry.




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          iv. The application of the Benefit of the Bargain model would provide windfall

              gains to certain plaintiffs without reservation-by-reservation inquiry.

              Professor Prince testified during deposition that any applicable damages

              should be paid to the person or entity that paid for a hotel stay. However,

              bellwether plaintiffs reveal that the name on a reservation does not

              necessarily reflect the individual who paid for the reservation. For example,

              employers, relatives, and friends may have paid for the reservation.

              Therefore, each of the proposed class members’ hotel stays would need to

              be individually reviewed to determine who is entitled to damages under the

              Prince Report’s model. See Section IV.C.




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 III. The Prince Report’s Loss of Value Model Is Fundamentally Flawed

14. This section summarizes the flaws in the Prince Report’s Loss of Value model. First, the model

      makes no attempt to demonstrate how the value of plaintiffs’ data has diminished, meaning the

      model fails to capture economic harm. Second, while the Prince Report acknowledges that data

      is often available for free, the model ignores this fact when purporting to establish a market

      price for the Four Tables Data. Third, characteristics absent in the Four Tables Data such as

      accuracy and filtering capabilities drive the value of the positively priced market benchmarks

      that the model uses to establish a market price for the Four Tables Data. Fourth, the theory of

      harm, which reflects the price that individuals receive for their data, runs contrary to the data

      sources the model relies upon. And fifth, applying the Loss of Value model necessarily requires

      a record-by-record inquiry, not formulaic calculations.

      A. The Prince Report’s Loss of Value Model Does Not Measure Economic Harm

15. The Prince Report estimates the Loss of Value model using purported market prices for related

      data.13 However, from an economics perspective, the owner of a good only suffers economic

      harm if the market value of that good is diminished in some way. Professor Prince stated during

      his deposition, “I’m not offering an opinion that speaks to a change in market prices as a result

      of the data breach.”14

16. Economic goods and services can be classified as either rival or non-rival.15 When I consume

      a rival good such as an apple pie, other people cannot eat it. In contrast, a non-rival good does




 13
      Prince Report, Section XI.
 14
      Deposition of Jeffrey T. Prince, Ph.D, In Re: Marriott International Inc., Customer Data Security Breach
      Litigation, MDL No. 19-md-2879, August 13, 2021 (hereafter, “Prince Deposition”), pp. 217:3–12 (“Q:
      Okay. Again, we'll get into how you approached it. But I do want some answers on these questions as well.
      Is it your testimony, Professor Prince, that you are not going to offer any opinion as to any change in the
      value of the data at issue as a result of the cyber attack? A: I'm not offering an opinion that speaks to a change
      in market prices as a result of the data breach. I don't speak to that in the report.”).
 15
      Mankiw, N. Gregory, Principles of Economics: Sixth Edition, South-Western Cengage Learning, 2012, at p.
      219.


                                                             11
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      not diminish after an individual consumes it.16 A lighthouse represents an example of a non-

      rival good. One boat can benefit from the light from a lighthouse without diminishing the

      ability of other boats from benefiting. Like a lighthouse, it is widely recognized that digital

      data, including records in the Four Tables Data, is non-rival in consumption.17

17. The fact that data is non-rival poses challenges for trying to measure how the loss of any data

      in the cyberattack diminished the underlying value of the data. If someone steals a slice of

      apple pie, the underlying value of the apple pie diminishes because there is less of it. However,

      when a good is non-rival the logic does not hold, because when someone consumes a non-rival

      good, even without permission to do so, there is not less of it. Though the Prince Report

      acknowledges that data is non-rival,18 the analysis fails to grapple with what that means for an
      attempt to measure how data diminishes in value as a result of the cyberattack. Because data

      is non-rival, its value cannot diminish simply because it was accessed in a cyberattack.

      B. The Prince Report’s Failure to Justify Ignoring Zero-Price Data Brokers Render Its
         Conclusions Unreliable

18. To apply the Loss of Value model, the Prince Report draws from only the positively priced

      bundles of data that it observes online. The Prince Report applies to its model the prices of

      bundled data from only five of the 14 non-Dark Web data brokers from which it collected
      data.19 The nine disregarded data brokers generally have an explicitly zero or close-to-zero

      price per record.20 But the Prince Report is wrong to suggest that it can discard the zero-priced


 16
      Mankiw, N. Gregory, Principles of Economics: Sixth Edition, South-Western Cengage Learning, 2012, at p.
      219 (“A good is rival in consumption if one person's use of the good diminishes other people's use of it.”).
 17
      Prince Report, ¶ 138.
 18
      Prince Report, ¶ 138.
 19
      Prince Report, Figure 7, and ¶ 126 (“The subset I utilize is in Figure 7 below, as these datasets are most
      reasonably close in quality to the data that would have been attainable from the Marriott Data Breach.”).
 20
      Whitepages.com and PeopleMap on Westlaw represent the two exceptions. See Prince Report, Figure 3 and
      Figure 7. PeopleMap is a sophisticated tool used to conduct background checks. The website indicates reports
      include contact information, ownership records, news results, criminal records, and social media content.
      Thomson          Reuters,     “PeopleMap          on      Westlaw:       Overview,”        available      at
      https://legal.thomsonreuters.com/en/products/people-map#features. I agree with the Prince Report that this
      should be excluded as a benchmark given that as a background check tool it is serving a different purpose.


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      data brokers because they are relatively more inaccurate than the positively priced bundles of

      data. In fact, the zero-priced data brokers may be better comparators because, like the zero-

      priced data brokers, the Four Tables also had expired and outdated information as shown in

      Table 1. The Prince Report is also wrong to suggest that it can discard the zero-priced data

      brokers on account of them offering individual records because what the Loss of Value model

      purports to be able to measure is the value of an individual record of data. The Prince Report

      further fails to engage with the obvious conclusion that the zero-priced data sources imply that

      the market value of much of the data involved in the attack may be zero. This central flaw

      renders the Loss of Value model unreliable.

          1. The Prince Report Explicitly Acknowledges That The Data Involved in the Attack Is
             Often Available at a Zero-Price But Ignores This Fact

19. A general theme that emerges in the study of the economics of digital data is that a drastic

      reduction in the costs of parsing and storing data has led data itself to being ubiquitous to the

      point of being freely available.21 The Prince Report includes in its Figure 3 multiple examples

      of this kind of zero-priced data, but ultimately ignores them.

20. Figure 3 of the Prince Report reports that four data brokers have an (approximately22) zero

      price for data: ThatsThem.com,23 TruePeopleSearch,24 USA People search,25 and Us Business




 21
      Goldfarb, Avi, and Catherine Tucker, “Digital Economics,” Journal of Economic Literature, Vol. 57, No.1,
      2019, pp. 3–43; Acs, Zoltan J., et al., “The Evolution of the Global Digital Platform Economy: 1971-2021,”
      SSRN, February 2021.
 22
      Though the Prince report records the price per record as zero for US Business Data, it actually ranges from
      1.11 to 4.82 millionths of a dollar. See Prince Report, Figure 3.
 23
      ThatsThem compiles information on individuals from over a billion public U.S. records and can be queried
      by name, address, email address, IP address, phone number, or vehicle identification number (VIN).
      ThatsThem, “Free People Search Engine,” available at https://thatsthem.com.
 24
      TruePeopleSearch is a search engine that compiles reports of individuals based on public records.
      TruePeopleSearch, “TruePeopleSearch,” available at https://www.truepeoplesearch.com.
 25
      USA People Search aggregates information based on “billions of public records compiled from thousands of
      official sources” to create reports of individuals. USA People Search, “What Info Can You Find with a People
      Search?” available at https://www.usa-people-search.com.


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      Data (spanning their US Business Database,26 US Cell Phone Database,27 and US Residential

      Database28). However, the Prince Report ignores them when selecting market values to apply

      to the Loss of Value model.29 Each of these data brokers provides data of the kind that the

      Prince Report purports to assess. For example, a USA People Search report includes a complete

      set of contact information including full name, current address, previous addresses, phone

      numbers, email addresses, aliases, and/or possible relatives.30 A TruePeopleSearch report

      includes a complete set of contact information including full name, current address, previous

      addresses, phone numbers (mobile or home), email addresses, “associated names,” and/or

      possible relatives and associates.31 The homepage of ThatsThem identifies 46 fields which can
      be included in a report, including basic contact information as well as household size, home

      value, vehicle model, and interest in travel.32 And US Business Data’s US Cell Phone Database

      includes seven variables,33 its US Residential Database includes 36 variables,34 and its US

      Business Database includes 16 variables.35 It is not clear why the Prince Report ignores this

      highly relevant information.

21. Similarly, three sources of data that the Prince Report lists in Figure 3 as having a “NA” price

      allow unlimited data records for a small monthly fee and therefore have close to a zero price

 26
      US Business Data, “US Business Database,” available at https://usbizdata.com/us-business-database.php.
 27
      US Business Data, “US Consumer Cell Phone Database,” available at https://usbizdata.com/us-cell-phone-
      database.php.
 28
      US Business Data, “US Residential Database,” available at https://usbizdata.com/us-residential-
      database.php.
 29
      Prince Report, Figure 7.
 30
      USA People Search, “What Info Can You Find with a People Search?” available at https://www.usa-people-
      search.com.
 31
      TruePeopleSearch, “Paula Jean O’Brien,” available at
      https://www.truepeoplesearch.com/details?name=Paula%20O%27Brien&citystatezip=New%20York&rid=
      0xl.
 32
      ThatsThem, “Free People Search Engine,” available at https://thatsthem.com.
 33
      US Business Data, “US Consumer Cell Phone Database,” available at https://usbizdata.com/us-cell-phone-
      database.php.
 34
      US Business Data, “US Residential Database,” available at https://usbizdata.com/us-residential-
      database.php.
 35
      US Business Data, “US Business Database,” available at https://usbizdata.com/us-business-database.php.


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      per record: PeopleFinders,36 BeenVerified,37 and US Search.38 The Prince Report ignores them

      when selecting market values to apply to the Loss of Value model.39 However, each of these

      data brokers provides data of the kind that the Prince Report purports to assess. Indeed,

      PeopleFinders’ People Search includes name, address, previous addresses, phone numbers, and

      birth date in its report.40 A “People Search report” on BeenVerified includes select fields,

      including basic name, age, address, and contact information as well as a photo if available.

      Additionally, the same report can include criminal records, bankruptcies, professional

      information related to the individual’s employment or education, as well as social media

      websites.41 And a US Search report includes “a person’s date of birth, phone numbers, address
      history, related persons, social media profiles including email addresses, and nearby sex

      offenders.”42

22. The Prince Report includes in Figure 3, but not in Figure 7, three entries for limited

      subscription services from Whitepages, but ignores that Whitepages also provides free reports,



 36
      PeopleFinders is a search engine that reviews billions of public records from more than 6,000 data sources
      in the U.S to produce individual reports on a person, a phone number, or a property. PeopleFinders, available
      at https://www.peoplefinders.com.
 37
      BeenVerified offers a subscription service where customers can execute individual people lookups, reverse
      phone lookups, reverse email lookups, reverse address lookups, vehicle identification number (VIN) lookups,
      and username lookups. The site offers unlimited searches for $30/month. BeenVerified, “The Everyday
      Information Company,” available at https://www.beenverified.com/; and BeenVerified, “Final Step - It Only
      Takes 2 Minutes to Sign Up,” available at https://www.beenverified.com/lp/98101d/4/subscribe?hide-
      fcra=true#.
 38
      US Search is a search engine that reviews “billions of public records” to produce individual reports on a
      person, a phone number, or a property. US Search, “US Search,” available at https://www.ussearch.com.
 39
      Prince Report, Figure 7.
 40
      PeopleFinders, “Get an Instant Report on Brent Randal Long in Newnan, GA,” available at
      https://www.peoplefinders.com/products/name?firstName=brent&middleName=randal&lastName=long&l
      n=long&city=newnan&state=ga&id=G4142684304065417767.
 41
      BeenVerified, “People Search,” available at https://www.beenverified.com/people/.
 42
      The list of potential information is only presented after searching for an individual. US Search, “Final Step:
      Activate Your Account and Unlock Your Report!” available at
      https://www.ussearch.com/register/?firstName=Brent&lastName=Long&city=Newnan&state=GA&pid=4
      %3AeJyKVnIqSs0rUdJRUtJR8snPS1fSgYgoQDl-
      qeV5iXlKOkrujhBFEOQcEOGka2JpbKyko1RSlJhXXJqXmQ9SZpCYaJGSlmyka2JpaaJrYpaWpmuRami
      sa2xpnmSempZimmZopBQLCAAA__-WcCAn&transaction_id=8bd0ebe8-8b27-48e7-bddb-
      041e7b58533a.


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                       48
                            but none of the data from the Four Tables Data Production containing a last

      name “Maldini” includes that phone number.49 And two records from the Four Tables Data

      Production containing the name “Anne Marie Amarena” include the phone number

             which Plaintiff Amarena testified is a now-disconnected phone line.50

25. Furthermore, the Four Tables Data Production includes records that are inaccurate on their

      face: one record has a first name “TOURS,”51 and four are “SUSAN OF2”;52 some addresses

      include “N.A,”53 “ADDRESS NOT AVAILABLE,”54 “NONE,”55 “XYZ 123,”56 and “.”;57

      some email addresses include “HAS NOT BEEN ASKED FOR EMAIL,”58 “WILL NOT

      GIVE EMAIL ADDRESS,”59 “DOES NOT HAVE EMAIL”;60 73 records contain an email
      address “DO NOT ASK”;61 1,438 of 4,271 records in the Four Tables Data Production do not



 48
      Deposition of Peter Maldini, In Re: Marriott International Inc., Customer Data Security Breach Litigation,
      MDL No. 19-md-2879, May 20, 2021 (hereafter, “Maldini Deposition”), p. 42:7–8 (“Q: What is your phone
      number, Mr. Maldini? A:                ”).
 49
      In MI_MDL_02496938, if one filters to include only records with a last name “Maldini” or “Maldini(G-
      SPG)” there are 21 records, and none include the phone number             Four Tables Data Production,
      MI_MDL_02496938.
 50
      Deposition of Anne Marie Amarena, In Re: Marriott International Inc., Customer Data Security Breach
      Litigation, MDL No. 19-md-2879, June 9, 2021 (hereafter, “Amarena Deposition”), p. 315:3–10 (“Q: Is the
      phone number                  familiar to you? A: Yes. Q: What -- what number is that? A: That was my
      landline. Q: And that landline you said is disconnected? A: Correct.”); Four Tables Data Production,
      MI_MDL_02496938, unique row IDs 283669162 and 684719302.
 51
      Four Tables Data Production, MI_MDL_02496938, unique row ID 53949078.
 52
      Four Tables Data Production, MI_MDL_02496938, unique row IDs 658446590, 658446614, 658446611,
      and 658446617.
 53
      Four Tables Data Production, MI_MDL_02496938, unique row ID 863976644.
 54
      Four Tables Data Production, MI_MDL_02496938, unique row IDs 58494398 and 235764305.
 55
      Four Tables Data Production, MI_MDL_02496938, unique row ID 568929321.
 56
      Four Tables Data Production, MI_MDL_02496938, unique row IDs 843289972, 843289973, 843289974,
      843289975, 843289976, 843289977, and 843289980.
 57
      Four Tables Data Production, MI_MDL_02496938, unique row ID 658446599.
 58
      Four Tables Data Production, MI_MDL_02496938, unique row IDs 622721442, 550613486, and
      928197866.
 59
      Four Tables Data Production, MI_MDL_02496938, unique row ID 774223460.
 60
      Four Tables Data Production, MI_MDL_02496938, unique row ID 343098188.
 61
      In MI_MDL_02496938, if one filters to include only records with “DO NOT ASK” in the email address
      field, there are 73 records. Four Tables Data Production, MI_MDL_02496938.


                                                         17
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      have an email address at all;62 and 1,555 of 4,271 records in the Four Tables Data Production

      do not have a phone number.63

          3. The Prince Report Incorrectly Associates Data from the Four Tables with Mailing
             Lists

26. The Prince Report further attempts to justify ignoring zero-priced benchmarks by asserting that

      the business model of data brokers offering zero-priced data involves downloading an

      individual report or a subscription and individual downloads of the reports.64 As an initial
      matter, it is not apparent why looking at prices for individual records would be inappropriate

      here, since the Prince Report is purporting to offer a methodology for calculating damages for

      individual sets of records. In general, if the Prince Report seeks to estimate a price for the value

      of an individual’s data rather than a mailing list, then the individual download benchmarks

      would appear more appropriate.

27. Moreover, the Prince Report fails to explain why it includes two data sources from the Dark

      Web that did involve individual reports as benchmarks.65

          4. The Prince Report’s Failure to Justify Ignoring Zero-Priced Data Brokers Render Its
             Conclusions Unreliable

28. In short, the Prince Report offers no convincing justification for ignoring the zero-priced data

      brokers. The Prince Report further fails to engage with why some data brokers offer services

      for a fee, and some offer data for free. Data brokers offering similar data for free may imply

      that many records in the Four Tables Data have little to no inherent value, much less that any


 62
      In MI_MDL_02496938, if one filters to include only records with a blank in the email address field, there
      are 1,438 records. Four Tables Data Production, MI_MDL_02496938.
 63
      In MI_MDL_02496938, if one filters to include only records with a blank in the phone number field, there
      are 1,555 records. Four Tables Data Production, MI_MDL_02496938.
 64
      Prince Report, ¶ 126 (“Similarly, while I reviewed prices on individual reports from ‘people search’ websites
      such as WhitePages.com, these sources do not provide the additional value of a customer being able to simply
      download a full list of people and their personal information. The need to search for an individual person in
      order to download a single report makes this business model incomparable to the format in which the hackers
      accessed Marriott customers’ personal information.”). Four Tables Data Production, MI_MDL_02496938.
 65
      In Figure 3 of the Prince Report two of the three Dark Web sources are identified as “Individual Reports.”
      Prince Report, Figure 3.


                                                          18
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      inherent value has diminished as a result of the Starwood cybersecurity incident, which is what

      plaintiffs’ theory of harm is.66 But the Loss of Value model assumes data has value and

      therefore ignores instances where the data is priced as zero. As such, the Loss of Value model

      rests on an unjustified premise and is unreliable.

      C. The Prince Report Ignores What Drives the Market Value Of Its Non-Zero Priced
         Benchmarks

29. The Prince Report’s methodology is further flawed because it equates the prices for data

      services offered by various data brokers with the value of the data itself. The Loss of Value

      model relies on market prices of data that is “legitimately offered and sold.”67 The Prince
      Report derives the price per record by dividing the cost of the market price of the selected list

      of data by the number of records in the selected list.68 The Prince Report then uses the price

      per record to estimate the value of the Four Tables Data.

30. As an initial matter, I could not recreate exactly what the Prince Report did to obtain per record

      prices because each data broker offers a large list of options and filters that its client may select

      to establish a price, and the Prince Report did not disclose—either in the report or in the backup

      data provided with the report—what options or filters it chose.69 As discussed in this section,

      the market value of data provided by data brokers derives from characteristics beyond any

      inherent value derived solely from the data itself.

 66
      Corrected Memorandum in Support of Bellwether Plaintiffs’ Motion for Class Certification, p. 3.
 67
      Prince Report, ¶ 81 (“A metric with clear relevance for the value of data is the ‘market prices at which
      personal data are legitimately offered and sold.’”).
 68
      Prince Report, ¶ 131 (“I utilize price per record when determining the prices for any given data product. In
      most cases, this figure is directly recorded in Figure 7. Some products are priced as subscriptions, whether
      paid annually or monthly, with a limit on the number of records that can be viewed and collected. In such
      cases, I infer a per record price as though the consumer collected the maximum number of allowed records
      for the billing period. For example, if a monthly subscription allowed 500 records per month, I took the cost
      of the subscription for one month divided by 500.”).
 69
      For example, while the Prince Report did not provide any data to explain how it derived its prices, it appears
      that for Rocket Reach the Prince Report includes 12 entries which reflect three annual subscriptions without
      phone numbers, three annual subscriptions with phone numbers, three monthly subscriptions without phone
      numbers, and three monthly subscriptions with phone numbers. To identify the relevant subscriptions used
      in the Prince Report, you need to toggle between “Billed Monthly” and “Billed Annually.” Additionally,
      within these two options you need to toggle the “Need Phone Results?” option. See RocketReach, “Prospect
      Leads at the Speed of Light!” available at https://rocketreach.co/pricing.


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          1. The Prince Report Focuses on Benchmarks That Promise To Generate Marketing
             Prospects

31. The business model of the data brokers that the Prince Report relies upon focuses on helping

      those brokers’ clients establish the right target audience. The Prince Report draws benchmark

      market prices from DirectMail (seven entries), Exact Data (one entry), LeadsPlease.com (three

      entries), and BookYourData (five entries).70 Each data broker targets clients looking to contact

      a specific audience or individual. BookYourData advertises itself as helping clients “Zero in

      on your target audience and email leads with these databases to make more deals and boost

      your sales.” Directmail.com advertisers its products by saying “Our industry savvy enables us

      to recommend the right Data Products & Tech to target and reach precisely the audiences and

      segments you desire.” Exact Data advertisers its Customer Database by saying “Our user-

      friendly platform allows you to target your ideal audience and curate a custom email list within

      minutes.”71 RocketReach’s primary service allows customers to search for professionals and

      subsequently target these individuals for business needs like recruiting efforts, sales efforts, or

      general marketing efforts.72 LeadsPlease describe their mission as “To provide our customers

      with a secure way to quickly target sales leads and search for potential new customers online,

      so that they can feel confident about launching a highly targeted marketing campaign backed

      by quality data.”73 All the non-Dark Web sources the Prince Report relies upon in applying the

      Loss of Value model aim to sell their data to businesses interested in advertising their products
      to potential customers.

32. In stark contrast, the Four Tables Data offers no such targeting capabilities if individual class

      members are claiming an individual value in offering to sell their individual data. The Four

      Tables instead represents an unwieldy assortment of hundreds of millions of records that

      stretch back to 2002.74

 70
      Prince Report, Figure 3.
 71
      Exact Data, “About Exact Data,” available at https://www.exactdata.com/corporate/about-us.html#.
 72
      RocketReach, “Rocket Fuel for Your Growth,” available at https://rocketreach.co.
 73
      LeadsPlease, “About LeadsPlease.com,” available at https://www.leadsplease.com/about_us.
 74
      See Verizon Report, MI_MDL_00000001-205 at 025 and 060; and Section III.B.2.


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33. The Prince Report does not justify why it thinks that firms providing services for enabling

      clients to find potential prospects represent useful benchmarks for the Four Tables Data. The

      Prince Report conflates the value of the underlying data with the useful marketing services and

      customer support provided by the benchmarks it chooses. And the Prince Report provides no

      methodology for disentangling the value provided by these benchmarks in assisting their

      clients with finding prospects from the underlying data.

          2. Sellers of Data Provide Value to Clients by Offering Filters And Targetable Data, in
             Contrast to the Four Tables Data

34. The problems inherent in choosing benchmark prices from companies oriented around

      enabling their clients to find prospects are particularly clear when it comes to the Prince

      Report—which ignores a variety of targeting and filtering services these benchmark firms

      provide and conflates the value of those services with the value of the underlying data. The

      ability to easily identify or target an audience with specific characteristics provides value to

      businesses. The data brokers that the Prince Report relies on in applying its Loss of Value

      model–DirectMail, Exact Data, LeadsPlease, BookYourData, and RocketReach–all offer the

      ability to filter or target customers. This is important to firms, as much of the inherent value of

      obtaining data from these sites comes from isolating the proper audience for a market

      message.75

35. This ability to target is reflected in the way that a potential buyer of a list would purchase data

      from a seller such as DirectMail. First the seller would provide a geographical filter, and after

      that they would have the option of using many advanced filters to identify their target audience.

      For example, if I was searching using these filters, initially I would be invited to hone my list

      by geography. As a small business I might choose to target people who live in the 02478 zip

      code. I would pay $390.90 for the 10,023 records.76 However, the reason the list would be

 75
      Tucker, Catherine E., “Competition in the Digital Advertising Market,” The Global Antitrust Institute Report
      on the Digital Economy, No. 19, November 11, 2020, pp. 679–706, at pp. 681–682.
 76
      These figures were found using the GeoSelector tool on DirectMail. I selected “Households” as my target
      and the “Postal Addresses” option as a filter, and entered 02478 as the zip code. No other filters were



                                                          21
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     valuable would not be driven by the data contained in the fields alone. The list would be

     valuable because it represents a targeted collection of potential prospects who might be

     interested in my local business.

36. As well as geographical targeting, DirectMail and LeadsPlease allow potential buyers to filter

     by a wide array of other data as shown in Figure 1 and Figure 2. Rocket Reach allows one to

     use multiple filters to identify the right prospect as shown in Figure 3. These include location,

     job title, skills, years of experience, company, employee count, revenue, industry, and

     education. The filtering capabilities of these websites offer large value to any salesperson

     trying to identify the right prospect within a company.




     included. I then selected “One Time Usage.” DirectMail.com, “GeoSelector,” available at
     https://www.directmail.com/geoinsight.


                                                  22
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                           Figure 1: DirectMail’s Available Filters77




77
     DirectMail.com, “GeoSelector,” available at https://www.directmail.com/geoinsight.


                                                       23
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                         Figure 2: LeadsPlease’s Available Filters78




78
     LeadsPlease, “Demography Selection,” available at leadsplease.com/dm_proc_demography.


                                                     24
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                        Figure 3: Rocket Reach’s Available Filters79




79
     RocketReach, “RocketReach Search,” available at
     https://rocketreach.co/person?start=1&pageSize=10&current_title%5B%5D=%22professor%22&skills%5
     B%5D=%22economics%22&employer%5B%5D=%22MIT%20Sloan%20School%20of%20Management
     %22.


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      structure of the Four Tables, the Prince Report fails to estimate the value of the data it seeks to

      value.

          3. The Value of The Data Records is Driven by Their Combination with Other Data
             Fields

38. The Prince Report methodology is further flawed because it uses prices that are based on more

      fields of data than the Prince Report is trying to set a value for. Figure 8 of the Prince Report

      uses BookYourData to develop the market value for a set of data that includes name, age,

      whether the individual has children, email address, phone number, and current mailing
      address.82 However, BookYourData offers more than name, email address, phone number, and

      current address. Based on a sample list downloaded from BookYourData, the Pre-made C-

      level list selected by the Prince Report includes 28 variables: Direct Email Address, First

      Name, Last Name, Job Level, Job Title, Job Function, Job Department, Company Name, Major

      Division Description, SIC 2 Code, SIC 2 Description, SIC 4 Code, SIC 4 Description, BYD

      Industries, Postal Address, City, State, Zip Code, Employee, Revenue, Area Code, County,

      Country, Founded, Type, Phone Number, Fax Number, and Website.83 Other data brokers also

      offer more than the seven variables the Prince Report assesses in Figure 8. The final contact

      list generated by DirectMail includes name, address, email, phone, and at least 22 additional

      demographic variables, many of which are not available in the Four Tables.84 Therefore the
      Loss of Value model applies the value of a bundled set of data to only a subset of that set of

      data.




 82
      I exclude any mention of the dark web and credit card information since the majority of credit card
      information would be inherently without market value on account of it being encrypted. Individualized
      inquiry would be required to determine any proposed class members that may have been at risk from the
      release of the small percentage of unencrypted cards; and Prince Report, Figure 8.
 83
      These variables were identified by downloading a sample file for the lists identified in the Prince Report.
      Dummy sample Data, BYD_Dummy_ Sampledata_2021.09.02.xls, downloaded from BookYourData, “C-
      Level Email List,” available at https://www.bookyourdata.com/email-list-database/c-level.
 84
      DirectMail.com, “Terms,” available at https://www.directmail.com/terms/;            and   DirectMail.com,
      “GeoSelector™,” available at https://www.directmail.com/geoinsight/.


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39. As a matter of basic economics, the value of a good that represents a bundle of individual

      goods and characteristics is not necessarily equal to the sum of the value of its parts. A bundle

      may be worth more or less than the parts on their own and in some cases one part of the bundle

      is not worth anything on its own. Therefore, the value of a bundled good does not provide a

      reliable basis to determine the value of a subset of individual components of the bundle.

40. By applying the value of a bundled set of data to a subset of data derived from that bundle, the

      Prince Report’s Loss of Value model unreliably estimates the value of that subset of data. It

      follows that the Prince Report’s Loss of Value model cannot reliably assess classwide

      damages, if indeed any exist.

          4. There is Large Value in Delivering Accurate Data That The Prince Report Ignores

41. Moreover, businesses pay a premium to purchase accurate data—a fact that the Prince Report

      ignores. To illustrate the premium data brokers can command for accurate data, consider the

      emphasis placed on accuracy in the marketing materials of the data brokers that charge a non-

      zero price, who the Prince Report relies on for benchmarking prices in Figure 7, compared to

      those data brokers who charge close to zero, and who the Prince Report disregards.

42. These premium sources often advertise the accuracy of their data. For example, DirectMail

      makes numerous statements regarding the accuracy of its data including that it is “the most

      comprehensive and accurate source for consumer marketing data available today.”85 Exact

      Data claims an “approximate 95% deliverability rate” and offers a satisfaction guarantee,

      meaning Exact Data will replace/refund leads that have any issues with delivery.86 LeadsPlease

      guarantees at least 95 percent accuracy for its consumer mailing lists and at least 90 percent

      accuracy for its business mailing lists.87 BookYourData guarantees a 95 percent success rate

 85
      DirectMail.com, “Consumer Mailing Lists,” available at https://www.directmail.com/mailinglists/consumer-
      mailinglists.
 86
      Exact Data, “The Exact Data Difference,” available at
      https://www.exactdata.com/objects/content/files/The_Exact_Data_Difference_Overview.pdf.
 87
      LeadsPlease, “Consumer Mailing Lists [2021],” available at https://www.leadsplease.com/mailing-
      lists/consumer; and LeadsPlease, “Grow Your Business with a Targeted Direct Mailing List,” available at
      https://www.leadsplease.com.


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      when delivering emails and issues credits when a list falls below this success rate.88

      RocketReach represents to its customers that the “plans have an average 85% or higher fill rate

      for emails and a 60% fill rate for direct phone numbers.”89

43. By contrast, the data brokers in Figure 3 of the Prince Report that are excluded from Figure

      7—the ones who offer close to zero prices—do not offer guarantees of accuracy. For example,

      TruePeopleSearch acknowledges that its information is not “100% accurate and up-to-date.”90

      USA People Search does “not represent or warrant that the results provided will be 100%

      accurate.”91 US Business Data does not verify its data, instead delivering the data in the format

      it is received in.92 US Search compiles public records, but offers no guarantee or representation
      of accuracy.93 These examples make clear that accurate data drives at least part of the market

      value of the benchmark prices that the Prince Report uses to estimate the value of the data.

44. That is not the case for the Four Tables, which makes the Prince Report’s sources a poor fit for

      estimating a market value for the Four Tables Data. As explained in paragraphs 24–25 (Section

      III.B.2) and paragraphs 61–66 (Section III.F), the Four Tables Data includes outdated and

      inaccurate information.

45. Since a component of the market price for DirectMail, Exact Data, LeadsPlease,

      BookYourData, and RocketReach’s services include accuracy, it is inappropriate for the Prince

      Report to apply their prices to the inaccurate records within the Four Tables. Furthermore, the

      Prince Reports provides no indication of how to disentangle the part of the price of these

      services which is driven by their accuracy from that of the value of data alone. By applying

 88
      BookYourData, “Our Guarantees,” available at https://www.bookyourdata.com/our-guarantees.
 89
      RocketReach represents that it “only ever charges our users a lookup credit when we are able to provide a
      verified email for a searched contact.” RocketReach, “How Accurate Is RocketReach’s Data?” available at
      https://knowledgebase.rocketreach.co/hc/en-us/articles/235187087-How-accurate-is-RocketReach-s-data-.
 90
      TruePeopleSearch, “Terms of Use,” February 6, 2021, available at https://www.truepeoplesearch.com/terms.
 91
      USA People Search, “Terms of Use,” February 8, 2021, available at https://www.usa-people-
      search.com/terms.
 92
      US Business Data, “Frequently Asked Questions,” available at https://usbizdata.com/faq.php.
 93
      A disclaimer on the site says that “US Search does not make any representation or warranty about the
      accuracy of the information available through our website.” US Search, “US Search,” available at
      https://www.ussearch.com.


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      market values of data not reflective of the (in)accuracy of the Four Tables, the Prince Report

      fails to estimate the value of the data.

          5. The Legitimate Sellers of Data Spend Time Collecting and Vetting the Data, in
             Contrast to the Four Tables Data

46. Data brokers, especially those offering bulk data, spend time and effort collecting and verifying

      the data they offer. The data brokers that the Prince Report relies on in applying its Loss of

      Value model—DirectMail, Exact Data, LeadsPlease, BookYourData, and RocketReach—all

      offer bulk data sets collected from both publicly available sources and proprietary sources.94
      These websites do not originate the data, but instead sell the service that scrapes publicly

      available data sources, merges that data with privately sourced data, verifies its accuracy, and

      compiles the data in an understandable format.95 As a result, market prices “reflect search and

      other costs incurred by the data broker.”96 This is something I have emphasized in my own

      research: that, in today’s economy, verification drives much of the value of data.97

47. The Four Tables Data Production has not been vetted, consolidated, or deduplicated.98 Instead,

      it includes multiple records per person with no method to consolidate the information; indeed,

      searching for a single person’s name in the data can return hundreds of false positives.

48. Because part of the market value of DirectMail, Exact Data, LeadsPlease, BookYourData, and

      RocketReach derives from the time spent collecting the data they sell, it is inappropriate to


 94
      See, for example, Exact Data, “About Exact Data,” available at https://www.exactdata.com/corporate/about-
      us html; See FAQ “Where is your data from?”. LeadsPlease, “Grow Your Business with a Targeted Direct
      Mailing List,” available at https://www.leadsplease.com/; RocketReach, “How Did My Profile Get On
      RocketReach?” available at https://knowledgebase rocketreach.co/hc/en-us/articles/234810007-How-did-
      my-profile-get-on-RocketReach.
 95
      See, for example, Exact Data, “About Exact Data,” available at https://www.exactdata.com/corporate/about-
      us html; LeadsPlease, “Data Quality,” available at https://www.leadsplease.com/data_quality; and
      RocketReach, “How Accurate Is RocketReach’s Data,” available at
      https://knowledgebase.rocketreach.co/hc/en-us/articles/235187087-How-accurate-is-RocketReach-s-data-.
 96
      OECD, “Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring Monetary
      Value,” OECD Digital Economy Papers, No. 220, April 2, 2013, p. 27.
 97
      Cui, Tony H., et al, “Informational Challenges in Omnichannel Marketing: Remedies and Future Research,”
      Journal of Marketing, Vol. 85, No. 1, November 2020, pp. 103–120.
 98
      See Section III.B.2.


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       apply these market values to a data source that has not been systematically collected and

       verified in any way. By applying market values of data not reflective of the characteristics of

       the Four Tables, the Prince Report fails to estimate the value of that data.

       D. The Dark Web sources cited in the Prince Report provide unreliable estimates for
          the value of the Four Tables Data

49. The Prince Report estimates the value of payment card information using prices observed on

       the Dark Web, but the sources included in the Prince Report provide estimates for payment

       card data that do not reflect the data in the Four Tables. The Prince Report identifies two

       sources that summarize the Dark Web marketplace and present high-level estimates for the

       value of payment card numbers, but the sources do not provide any basis for those estimates,

       or for the underlying data.99

50. One source is a blog post from January 20, 2021, authored by Paul Bischof of Comparitech, a

       “pro-consumer website providing information … to help our readers … improve their cyber

       security and privacy online.”100

51. The second source is written testimony from Lillian Ablon on March 15, 2018, before the

       House Financial Services Committee, Subcommittee on Terrorism and Illicit Finance.101 Ms.

       Ablon’s testimony includes one table of payment card values on the Dark Web derived from a
       2014 RAND National Security Research Division report.102

52. The Prince Report does not explain how the data in these sources were or could be validated

       for accuracy. Citing to the Ablon testimony, the Prince Report only says that “a freshly-

       acquired credit card number might fetch $15, whereas that same number after a period of time

 99
       Prince Report, Figure 3, and ¶ 134.
 100
       Comparitech, “About Our Company,” available at https://www.comparitech.com/about-us/; and Bischoff,
       Paul, “How Much Are You Worth on the Dark Web? (Credit card, PayPal, SSN),” Comparitech, available
       at https://www.comparitech.com/blog/vpn-privacy/dark-web-prices/.
 101
       Ablon, Lillian, “Data Thieves: The Motivations of Cyber Threat Actors and Their Use and Monetization of
       Stolen Data,” Testimony of Lillian Ablon before the Committee on Financial Services, Subcommittee on
       Terrorism and Illicit Finance, United States House of Representatives, March 15, 2018.
 102
       Ablon, Lillian, Martin C. Libicki, and Andrea A. Golay, “Markets for Cybercrime Tools and Stolen Data:
       Hackers’ Bazaar,” RAND National Security Research Division Report, 2014.


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      becomes stale and goes on ‘clearance’ in “a ‘grab bag’ of 100 credit card numbers for $700.”103

      And citing to the blog post, the Prince Report only says that “[a]nother study calculated the

      median price of a U.S. credit card number on the Dark Web to be $1.50.”104 The Prince Report

      provides no further explanation, does not assess the reliability of the underlying data sources,

      and provides nothing that would verify the accuracy of these numbers.

53. The prices the Prince Report extracts from these two sources are not a reliable economic proxy

      for the value of the payment card information within the Four Tables. Forensic analysis

      concluded that the Four Tables contained 9,079,650 unique encrypted payment card

      numbers.105 The forensic analysis found “no evidence that the master encryption key and/or
      individual record encryption keys that would be necessary to decrypt payment card numbers

      were compromised.”106 The forensic analysis identified one un-encrypted card number in a

      credit card field that expired in November 2011, and an additional 7,243 unencrypted card

      numbers for which no expiration date was reported within other, non-payment card data fields

      in two of the Four Tables.107 Therefore, less than one-tenth of one percent of the millions of

      payment card records accessed in the data breach potentially contained unencrypted account

      numbers.108 The Four Tables did not contain any PIN codes for debit cards or CVC/CVV




103
      Prince Report, ¶ 134.
104
      Prince Report, ¶ 134.
105
      The forensic analysis identified 9,079,650 unique encrypted payment card numbers and one unencrypted
      payment card value for 9,079,651 unique card numbers within the payment card data field. Verizon Report,
      MI_MDL_00000001–205 at 060–061.
106
      Verizon Report, MI_MDL_00000001–205 at 006, 061.
107
      Verizon Report, MI_MDL_00000001–205 at 006, 060, 073 (“The reason this record was not encrypted could
      not be determined; however, there was no evidence to suggest that this unencrypted value was related to
      unauthorized activity. The expiration date associated with the one non-encrypted payment card value was
      November 2011.”).
108
      The forensic analysis located 7,243 unencrypted card numbers in other, non-payment card fields. See Verizon
      Report, MI_MDL_00000001–205 at 060–061, 073. Therefore, 7,244 cards out of 9,086,894 (= 9,079,651 +
      7,243) were encrypted. 7,244 divided by 9,086,894 equals 0.080 percent.


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       prices at which individuals can sell their data. However, the Prince Report has not identified

       any such price.

58. The non-zero market values for data identified in the Prince Report do not reflect the price at

       which individuals can sell their data. Data brokers collect information from both publicly

       available sources and proprietary sources but do not offer individuals the opportunity to sell

       them their information.116 Likewise, Dark Web sites do not collect illicit credit card data from

       individuals selling their own information.

59. The Prince Report therefore chooses to estimate harm using market values that have no

       relationship to the price individuals could receive for their data. The Prince Report’s

       application of the Loss of Value model therefore does not estimate the harm proposed class

       members suffered from a lost opportunity to sell their data.

60. Overall, the Prince Report’s theory that lost opportunity to sell data caused harm does not align

       with the reality of the marketplace as well as not acknowledging the non-rivalry of data. First,

       no legitimate marketplace exists for one to sell sensitive information like credit cards, a fact

       Professor Prince himself confirmed in his deposition.117 Second, for other non-credit-card data,
       the Prince Report identifies only one potential marketplace where individuals can sell their

       data.118 However, the Prince Report does not propose to use it. Furthermore, Professor Prince

 116
       See, for example, Exact Data, “About Exact Data,” available at https://www.exactdata.com/corporate/about-
       us html; See FAQ “Where is your data from?”. LeadsPlease, “Grow Your Business with a Targeted Direct
       Mailing List,” available at https://www.leadsplease.com/; RocketReach, “How Did My Profile Get On
       RocketReach?” available at https://knowledgebase rocketreach.co/hc/en-us/articles/234810007-How-did-
       my-profile-get-on-RocketReach; Whitepages, “Where Does Your Information Come from?” available at
       https://support.whitepages.com/hc/en-us/articles/115010106948-Where-does-your-information-come-from-
       ; and BeenVerified, “Our Data,” available at https://www.beenverified.com/about/our-data/.
 117
       Prince Deposition, pp. 278:20–279:9 (“Q: So you don't have any legitimate data merchants which you present
       as selling credit card data? A: I don't present any, that's right. Q: And that's because they don't sell credit card
       data, do they? A: Not that I'm aware of. Q: There isn't a very legitimate, lawful reason to be selling someone's
       credit card information, agreed? A: I don't have one. I don't have a reason to put forth here.”).
 118
       Prince Report, ¶ 83. The report identifies four marketplaces: Datacoup, Digi.me, Meeco, and Tartle.
       Datacoup, Digi me, and Meeco were included as part of a quote from an external source but during Professor
       Prince’s deposition it was identified that this source was not correctly quoted and that Digi me and Meeco
       are not actually marketplaces where individuals can sell data. Prince Deposition, p. 246:3–247:1 (“Q: And
       you see where you changed the word or you added a word in brackets, ‘such’? Do you see that? A: Yes. Q:
       The actual word was ‘some,’ which actually changes the meaning of the sentence. Do you know why
       someone, perhaps on your team, went to the trouble of taking out the word ‘some’ and substituting the word



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       testified he is not aware of any attempts by plaintiffs to sell their individual data or situations

       where plaintiffs were precluded from selling their data.119 The Prince Report’s model therefore

       does not measure any economic harm resulting from a purported lost opportunity for proposed

       class members to sell their data—nor does the Prince Report explain how one could model

       classwide effects given thousands if not millions of putative class members and their risk-

       tolerance levels associated with hypothetically attempting to sell varying bundles of

       information. Even if, contrary to the record, individuals were attempting to sell their personal

       information, any inquiry into the value of that information, if any, would necessarily require

       individualized assessment.

       F. The Prince Report’s Loss of Value Model Would Require Record-by-Record
          Analysis

61. The Prince Report proposes a method to estimate the lost value of data that requires individual

       review and identification of data compromised in the data breach for each proposed class

       member.120 To successfully identify the set of data compromised for each proposed class
       member, the data must be consistently organized in a way that easily allows it. The Four Tables

       do not possess characteristics of well-organized data, and the Prince Report fails to

       acknowledge this and makes no effort to explain how to address the Four Tables’ lack of

       organization. The only identifiable approach to consolidate each plaintiffs’ set of records into
       a single set of active and accurate compromised data is through a record-by-record analysis.


       ‘such’? A: I don't. But I can look into it. Q: Because the way it reads, as you quoted it, it sounds like it’s
       saying that Datacoup, Digi.me, and Meeco all provide a venue for consumers to monetize their own data.
       That's what you intended to convey there, right? A: I'd want to go back and look at the full quote to, you
       know, think through what I intended to convey. It conveys what it conveys. If it seems inaccurate, I can go
       back and correct it.”); Digi me, “What Is Digi.me?” available at https://digi me/what-is-digime/; and Meeco,
       “The Infrastructure for Trusted Personal Data Ecosystems,” available at https://www.meeco.me/.
 119
       Prince Deposition, p. 321:6–22 (“Q: Are you aware of any potential class member in this case who has been
       unable to make a sale of his personal data because the hackers already sold it to that person? A: I don't know
       of anyone in particular. Q: Are you aware of any individual, potential class member, who has attempted to
       sell his personal data at all? A: Not that I know of. Q: And in your proposed model, do you have any way of
       determining that? A: “That” being whether any individual attempted to sell their data? Q: Yes. And if so,
       whether they tried to sell it to someone who bought it from the hackers? A: The model -- I don't have that
       incorporated in the model as of now.”).
 120
       Prince Report, ¶ 128.


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66. Despite describing the model as applying “per plaintiff,”138 the Prince Report does not disclose

       how the model can be applied when a plaintiff has numerous records with different

       information. Professor Prince testified during deposition that the Loss of Value model would

       be applied to any set of data that has some identifiable value in the market, though, he

       suggested that there could be “many, many combinations.”139 But as the example of Plaintiff



       were provided by Marriott. […] After a reasonable and exhaustive search of my records, I have -- I have no
       documentation to show or to confirm that those are my numbers… Q: Okay. Sitting here, you have no reason
       to believe that these are numbers that you ever provided to Marriott or Starwood. Is that correct? A: I do not
       know if those are my numbers.”), pp. 101:6–103:8 (“Q: And you believe this number ending in               is a
       payment card number associated with those stays? A: I have no documents that confirm in my possession,
       that I’m aware of, that that credit card was used. I’m simply going by the information Marriott provided to
       my attorneys. […] Q: Did you make any independent evaluation or determination about whether these
       payment cards, any of these payment cards listed in Letter D, actually were used by you? A: I was -- I made
       a reasonable search of all my documents, all my e-mails, all my credit card transactions, and I could not
       locate, to the best of my knowledge, anything that referenced those.”), and Exhibit 327 (Consumer Plaintiff
       Bryan Wallace’s Sixth Supplemental Responses To Marriott Defendants’ First Set Of Interrogatories To
       Consumer Plaintiffs, In Re: Marriott International Inc., Customer Data Security Breach Litigation, MDL
       No. 19-md-2879, June 21, 2021); Deposition of Brent Long, In Re: Marriott International Inc., Customer
       Data Security Breach Litigation, MDL No. 19-md-2879, June 8, 2021 (hereafter, “Long Deposition”), pp.
       41:20–44:4 (“Q: -- there is an indication that you believed two other SPG or Marriott Rewards numbers
       pertain to you? Do you see those two numbers in A? A: Yes. […] A: The                 is my Bonvoy number.
       The SPG number is not my number, that I’m aware of. […] Q: So you don’t believe that number pertains to
       you? A: I don’t. […] Q: So sitting here today, you have no idea how that     number pertains to you? Is that
       right? […] A: I don’t know why it’s there.”), and Exhibit 120 (Consumer Plaintiff Brent Long’s Seventh
       Supplemental Responses to Marriott Defendants’ First Set of Interrogatories to Consumer Plaintiffs, In Re:
       Marriott International Inc., Customer Data Security Breach Litigation, MDL No. 19-md-2879, June 4,
       2021); Deposition of Robert Guzikowski, In Re: Marriott International Inc., Customer Data Security Breach
       Litigation, MDL No. 19-md-2879, June 24, 2021 (hereafter, “Guzikowski Deposition”), pp. 94:14–96:4 (“Q:
       So is it right that you have no idea how the numbers that we just talked about pertain to you? […] THE
       WITNESS: I don’t -- I don’t recall how those numbers pertain to me. […] Q: Did you find a single record or
       email containing any of these numbers? […] THE WITNESS: I don’t recall the exact -- if I did or I didn’t.
       But -- I may have, but I don’t recall […] Q: Well, what’s your best recollection as to whether you found a
       single document in your possession that contains one of these numbers? […] THE WITNESS: I may -- may
       have or may have not; I don’t recall.”), and Exhibit 345 (Consumer Plaintiff Robert Guzikowski’s Fifth
       Supplemental Responses To Marriott Defendants’ First Set Of Interrogatories To Consumer Plaintiffs, In Re:
       Marriott International Inc., Customer Data Security Breach Litigation, MDL No. 19-md-2879, June 22,
       2021).
 138
       Prince Report, ¶ 137 (“I estimate a market price to acquire a basic grouping of personal data fields that were
       part of the Data Breach (name, address, age, email address, phone number, whether one has children, and
       credit card information) of $1.58 per Plaintiff per sale of data including credit card information and a market
       value of $0.09 per Plaintiff per sale of data excluding credit card information (see Figure 8 below).”).
 139
       Prince Deposition, pp. 222:8–223:16 (“Q: That parenthetical that we’re talking about, with the various types
       of data described, is that intended to mean that the $1.58 price tag applies to combinations of data that
       includes all of those components? A. So let me be very clear. So the two figures you see there, the one with
       the parenthetical, that’s one example of a combination of data that may have been taken… Q: Okay. A: By
       no means is that the universe of all combinations. Q: There could be many, many combinations? A: Correct.
       […] Q: And so you could have combos of almost infinite variety? A: Well, so, I limit myself to ones with --
       where I identify market prices or some price metric.”).


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O’Brien attests, proposed class members may have multiple sets of information to choose from.

The examples of Plaintiffs Fishon, Maisto, and Bittner demonstrate the challenge in associating

a record with any given individual without conducting a record-by-record analysis.




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 IV. The Prince Report’s Benefit of the Bargain Model Relies on Flawed
     Demand-Side Inputs And Supply-Side Inputs

67. The Prince Report uses its Benefit of the Bargain model to simulate the change in market prices

       that would occur if consumers were willing to pay less for Marriott hotels due to the data-

       security disclosure modeled in the Butler Survey.140 The Benefit of the Bargain model

       simulates an oligopolistic market to measure equilibrium prices in a but-for world.141 To

       produce reliable results, the model requires reliable inputs to estimate supply and demand in

       the market simulation.142 However, the Prince Report relies on fundamentally flawed inputs

       for supply and demand, which render the results of the Benefit of the Bargain model unreliable.

       Finally, the application of the model to the proposed class members may provide windfall gains

       to some plaintiffs because Professor Prince testified in deposition that damages should be

       awarded to the person or entity who paid for the reservation but proposes no mechanism for

       doing so without individualized inquiry.143

       A. The Prince Report’s Reliance on The Butler Report’s Use of Conjoint Analysis for
          Its Demand-Side is Inappropriate

68. The Prince Report says there exists no “market data that adequately captures data-security

       across hotels,” which is why it is forced to rely on the Butler Report’s estimates that come

       from the Butler Report’s Conjoint Analysis.144 In this section, I discuss the ways in which a

       Conjoint Analysis (“conjoint”) in general, and the specific conjoint used in the Butler Report,

       is inappropriate to approximate the demand-side of the Prince Report’s Benefit of the Bargain


 140
       Prince Report, ¶ 95.
 141
       Prince Report, ¶ 105.
 142
       Prince Report, Section X.C.3.
 143
       Prince Deposition, p. 198:8–20 (“Q: And was it your thinking, when you thought about it, that I'm still going
       to charge the overcharge percentage but I'm going to award it to the entity that actually reimbursed the hotel
       guest? Is that your thinking? A: That's the way I would think about it. Q: Okay. And would the same apply
       if I treat a family member, if I allow my daughter to go on a trip with one of her friends and I pay for it, I'd
       be the one to get the reimbursement, or I'd be the one to get the damages that you're calculating? A: That's
       the way I would think about it.”).
 144
       Prince Report, ¶ 112.


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       model. I then conclude that the Benefit of the Bargain model’s reliance on this unreliable input

       makes it unreliable as well.

69. Conjoint is a tool used by market researchers to assess the potential consumer response to

       incremental features for a given product or service. An example of an appropriate conjoint

       includes the                                 Study by Marriott.145 Using a conjoint study,



                                                                                                      .146



                                    .147
                                                                         .148 When I teach students how to

       use conjoint, I always emphasize that although this specific tool can be a useful tool for ex ante

       product design decisions, like the Marriott example, it can be a dangerous tool if misused. It

       will always produce numbers even for contexts where the choice scenario is inappropriate for

       a conjoint study, and consequently it can yield nonsensical numbers. There are also some

       specific concerns I have regarding the reliability of this conjoint, given my work on privacy

       and information security.

70. The privacy paradox describes the contradiction that “[w]hereas people say they care about

       privacy, they are willing to relinquish private data quite easily when incentivized to do so.”149

       In my own research I have found that when “expressing a preference for privacy is essentially

       costless, as it is in surveys, consumers are eager to express such a preference, but when faced

       with small costs this taste for privacy quickly dissipates.”150 Considerations of privacy and

 145
       Marriott,                       Study - Executive Summary,”           (hereafter, “Marriott Study”),
       MI_MDL_02482952.
 146
       Marriott Study, MI_MDL_02482952, Slide 4.
 147
       Marriott Study, MI_MDL_02482952, Slide 3.
 148
       Marriott Study, MI_MDL_02482952, Slide 7.
 149
       Athey, Susan, Christian Catalini, and Catherine Tucker, “The Digital Privacy Paradox: Small Money, Small
       Costs, Small Talk,” NBER Working Paper, No. 23488, June 2017, p. 2.
 150
       Athey, Susan, Christian Catalini, and Catherine Tucker, “The Digital Privacy Paradox: Small Money, Small
       Costs, Small Talk,” NBER Working Paper, No. 23488, June 2017, p. 4.


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       data-security often play a small part in consumer decisionmaking. For example, studies have

       found that MIT undergraduates have been found willing to trade off quite a lot of personal data

       in exchange for cheese pizza,151 and that small changes in webpage layout and additional (but

       extraneous) data-security offerings influenced whether a student chose a technology that

       offered data-security or not.152

71. This downplaying of data-security considerations can be seen in other choices internet users

       make. For example, though there are privacy-protective internet browsers such as Tor, the vast

       majority of users use other browsers.153 Similarly, people use Bing or Google Search rather

       than DuckDuckGo, even though DuckDuckGo does not retain their data.154 Such contradictory
       behavior has also been studied in the context of social networking sites such as Facebook. For

       example, Barnes (2006), Tufekci (2008), and Reynolds et al. (2011) find little correlation

       between individuals’ attitudes towards privacy and their actual disclosure of information on

       social networking sites.155 Therefore, the literature highlighting the disconnect between survey

 151
       Athey, Susan, Christian Catalini, and Catherine Tucker, “The Digital Privacy Paradox: Small Money, Small
       Costs, Small Talk,” NBER Working Paper, No. 23488, June 2017, pp. 8–9.
 152
       Athey, Susan, Christian Catalini, and Catherine Tucker, “The Digital Privacy Paradox: Small Money, Small
       Costs, Small Talk,” NBER Working Paper, No. 23488, June 2017, p. 12.
 153
       StatCounter       Global      Stats,    “Browser       Market      Share     Worldwide,”         available    at
       https://gs.statcounter.com/browser-market-share. According to the official website, “Tor Browser isolates
       each website you visit so third-party trackers and ads can’t follow you. Any cookies automatically clear when
       you’re done browsing. So will your browsing history … All anyone monitoring your browsing habits can see
       is that you’re using Tor … Your traffic is relayed and encrypted three times as it passes over the Tor network.”
       Tor Project, “Anonymity Online,” available at https://www.torproject.org. According to Tor Project, its
       network uses a bandwidth of about (299 Gbit/s), while the internet as a whole used a bandwidth of about
       1,360,000 Gbit/s (= 170 Tbit/s * 8,000 Gbit/Tb)it. See Data from January 1, 2020 through December 31,
       2020 on the advertised and consumed bandwidth of Tor in Gigabits per second, Tor Traffic - Bandwidth
       2020-01-01 - 2020-12-31.csv, downloaded from Tor Project, “Metrics – Traffic – Total Relay Bandwidth, ”
       available at https://metrics.torproject.org/bandwidth.html; and Mingas, Melanie, “Global Internet Capacity
       Up       35%       in    2020,”      Capacity      Media,      February      17,      2021,      available    at
       https://www.capacitymedia.com/articles/3827731/global-internet-capacity-up-35-in-2020.
 154
       Burgess, Matt, and Victoria Woollaston-Webber, “DuckDuckGo: What Is It and How Does It Work?” Wired
       UK, February 1, 2017, available at https://www.wired.co.uk/article/duckduckgo-anonymous-privacy.
       DuckDuckGo currently has 0.6% of the global search engine market. See StatCounter Global Stats, “Search
       Engine Market Share Worldwide,” August 2021, available at https://gs.statcounter.com/search-engine-
       market-share#monthly-201701-202108.
 155
       Barnes, Susan B., “A Privacy Paradox: Social Networking in the United States,” First Monday, Vol. 11, No.
       9, September 4, 2006; Tufekci, Zeynep, “Can You See Me Now? Audience and Disclosure Regulation in
       Online Social Network Sites,” Bulletin of Science, Technology & Society, Vol. 28, No. 1, February 2008, pp.
       20–36; and Reynolds, Bernardo, et al., “Sharing Ephemeral Information in Online Social Networks: Privacy



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73. The available literature and research on the privacy paradox and the real-life examples from

       the bellwether plaintiffs indicate that the willingness to pay outputs from the Butler Report’s

       model are unreliable. This in turn has a direct impact on the Prince Report’s Benefit of the

       Bargain model results. The Prince Report does not provide an alternative approach and

       Professor Prince in deposition indicated that while such an alternative was “possible,” he had

       not considered one in his report.159 Therefore, if the Butler Report’s estimate for willingness

       to pay is deemed inaccurate, which I believe it should be, the Prince Report’s Benefit of the

       Bargain model no longer has the necessary demand inputs to accurately calculate but-for

       prices.

       B. The Supply-Side of the Prince Report's Benefit of the Bargain Model Requires
          Individualized Inquiry

74. For the supply-side inputs, the Benefit of the Bargain model requires inputs to simulate the

       competitive landscape. This includes identification of competing hotels and their associated

       attributes, including price. Each Marriott hotel exists in a unique competitive landscape, so the

       supply-side inputs are required for each hotel associated with a class member reservation over

       a four-year period. As a result, for every market, the Benefit of the Bargain model must

       develop: a set of competing hotels; consideration sets; and contemporaneous prices for the


       That's what it states. Q: Okay. What was the purpose of this visit? A This would have been a business stay.”);
       Guzikowski Deposition, pp. 315:10–316:20 (“Q: Does this refresh your recollection that, in                 after
       you had notice of the data breach involving Marriott and Starwood, you reserved the honeymoon suite with
       hot tub at the                        […] A: I likely reserved the                        but I was just having
       some fun with her. Q: Okay. So the part that’s not accurate is “The ‘honeymoon suite’ with hot tub,” but the
       part that’s accurate is you reserved a                       room, correct? A: I believe so, but -- I believe I
       reserved the Marriott, but I can’t -- if it would have been convenient to the concert venue.”); Bittner
       Deposition, p. 192:11-15 (“Q: And despite that belief, you made a reservation on                      to stay at
       a                                          correct? […] A: Yes.”); and Deposition of Denitrice Marks, In Re:
       Marriott International Inc., Customer Data Security Breach Litigation, MDL No. 19-md-2879, June 17,
       2021, pp. 235:15–236:1 (“Q: Right. And you said you found out in December of 2018. Correct? A: Exactly.
       Q: Then who stayed at the                       in             A: Me and my husband. Q: Okay. So you -- you
       didn't stop staying at Marriott after -- A: I didn't know it was part of the property. I didn't know they were
       part of Marriott.”).
 159
       Prince Deposition, p. 32:5–13 (“Q: Could you have calculated your overcharge percentages without Ms.
       Butler's distribution that you utilized? A: I don't want to say that's not possible. I'd have to think more about
       that as to what other alternatives might be appropriate here. I believe using her numbers was appropriate, but
       I don't want to say there's no other way to think about this.”).


                                                             48
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       focal hotel and competing hotels. This analysis would require detailed, individualized market-

       by-market and reservation-by-reservation analyses and so does not provide a formulaic

       methodology for calculating class members’ damages. Furthermore, the Prince Report neither

       identifies the data necessary to these analyses nor demonstrates that it is feasible to obtain such

       information. Finally, individualized analyses would be necessary to direct damages to the

       appropriate paying party, given the prevalence of reimbursement for many stays.

75. The supply-side of the Prince Report’s Benefit of the Bargain model relies on two key inputs.

       The first is a determination of a set of competitor hotels and a realistic outside option. The

       second is competitive prices for the competitor hotels. Competitor hotels may change as hotels

       open, close, or renovate, and hotel prices change daily. Therefore, each of these inputs needs

       to be contemporaneous with the booking and the prices need to consider the booking period.

       The Prince Report proposes to gather the relevant market and competitive prices “for each stay

       by a class member.”160 However, because of the idiosyncratic nature of relevant markets and
       prices across time, geography, and booking platform, applying them to “each stay by a class

       member” requires a time-intensive, individualized analysis for every single reservation of each

       proposed class member. Furthermore, some of the necessary input data may not even be

       available, which would destroy the reliability of the Prince Report’s Benefit of the Bargain

       model even if individualized inquiry were undertaken. I discuss each of these inputs in the

       following sections.

           1. Determining the Contemporaneous Competitor Set

76. For each hotel that a class member stayed at (the “focal” hotel), the Prince Report proposes to

       identify the set of competitor hotels.161 The identification of these competitor hotels is

       important because plaintiffs will feed the competitor hotels’ prices into the model, and they

 160
       Prince Report, ¶ 99 (“For each stay by a class member, I collect relevant information for the market in which
       that stay occurred.”).
 161
       Prince Report, ¶ 99 (“For each stay by a class member, I collect relevant information for the market in which
       that stay occurred. The data include information on the set of competing hotels, and the market shares and
       features (including prices) of those competing hotels.”); and Prince Report Back Up Materials, Figure 6 Hotel
       Data.xlsx.


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       will help determine how the simulated market responds to the change in demand (or

       willingness to pay) modeled by the Butler survey. Identifying the set of competitor hotels for

       each stay by each class member requires a detailed and individualized analysis.

77. As acknowledged by Professor Prince in his deposition,162 determining the set of competitor

       hotels requires looking at the marketplace that existed at the time of the relevant booking

       date,163 meaning the hotels had to be a competitor of the focal hotel on the date a class member

       booked a given reservation.164 This is because using an out-of-date competitor set may result

       in an inaccurate overcharge. This also means that the competitor hotels must have been

       operating in the same geographic area of each focal hotel at the time a class member booked a

       given reservation; it must have been an actual competitor of the focal hotel; and be targeting

       the same set of customers depending on the local market, availability, location, personal

       preferences, length of stay, and other factors.




 162
       Prince Deposition, p. 65:6–19 (“Q: Okay. To do that, sir, did you have to, first, define each of those markets?
       A: […] But what I'm essentially doing is looking at a set of firms that one could reasonably say are competing
       with each other. Q: Okay. And in effect, then, you are defining what the market is for each of the subject
       Marriott/Starwood Hotels, correct? A: Well, again, I'm -- for each hotel, I'm telling you what I believe is a
       reasonable set of competitors that that hotel is facing. ”), pp. 91:4–92:3 (“Q: So you used geography and tier
       to identify those competing hotels for each of the four markets, right? A: Each of the four cities. So I chose
       four cities. Q: Okay. A: Picked a focal hotel in each city and then used geography and tier to identify the
       competing hotels for each of those focal hotels. Q: Okay. And is there a difference between, as you're using
       the terminology, a city and the market? A: In the way that I'm discussing it in the report, yes. Q: And what's
       the difference? A: Well, so, as we've discussed, when I -- well, the market, for my analysis in the report, I'm
       talking about the focal hotel and the set of competing hotels. And the city can be larger than that. So,
       obviously, the city can encompass a larger number of hotels, it may or may not, but it may”), and pp. 102:18–
       103:9 (“Q: Well, what I'm asking, Professor, is you would need to look at it in both -- let me get at it.
       Assuming that you had stays in each of the four or five years of your damage period in Hyderabad, you would
       need to look at each of those time periods to see if the competitive market was the same or different as in
       other vendors, right? A: I would look at what the competitive landscape looks at those different points in
       time. Q: And you would have to do that for all 1,200 to 1,400 Starwood locations that potentially are at issue
       here, right? A: Whatever the number that are at issue, I would do that.”).
 163
       Prince Report, ¶ 111 (“The same dates of stay were examined for each hotel within a given geography and
       were sampled at the same point in time to avoid capturing price fluctuations resulting from different booking
       windows or different dates of stay.”).
 164
       Prince Report, ¶ 111 (“The same dates of stay were examined for each hotel within a given geography and
       were sampled at the same point in time to avoid capturing price fluctuations resulting from different booking
       windows or different dates of stay.”).


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78. Defining a set of contemporaneous competitor hotels requires market analyses across

       geography and time for every single reservation made by each proposed class member. The

       following steps must be followed to ensure a contemporaneous, valid set of competitor hotels:

       a. Identify the booking dates and booking window for each reservation of each class member.

       b. Identify the geographic area of the focal hotel for each reservation of each class member.

       c. Determine the set of contemporaneous hotels operating within the general geographic area

            of the focal hotel at the time of each reservation for each class member.

       d.   From this set of hotels, select those hotels that were a direct competitor to the focal hotel

            at the time of reservation for each class member.

79. By proposing to define a set of competitor hotels for each hotel in which a proposed class

       member stayed, the Prince Report acknowledges the need to conduct an individualized market

       analysis for every hotel stay by the alleged class members. Professor Prince acknowledged this

       fact by saying it was “correct” that he would need to analyze the individual markets, and that

       he would “potentially” need to do this for different time periods.165 Furthermore, the Prince
       Report indicates that among the selected competitor hotels for the four focal hotels listed in

       Figure 6 of the Prince Report, it collected information on price, number of rooms, and existence

       of a restaurant, fitness center, and free in-room wireless internet.166 The Prince Report uses

       these characteristics because they are the features that the Butler Report collected data on in

       its survey. However, a more complete model would incorporate all hotel features that influence

       hotel choice.

80. Setting aside the question of whether a restaurant, fitness center, and in-room wireless internet

       represent the set of hotel features that drive consumer decision-making—which the Prince

 165
       Prince Deposition, pp. 97:21–98:16 (“Q: So, in other words, 1,200 to 1,400 competitive segments that you
       would have to analyze; is that true? A: Taking that number as given, yes, that would be correct. Q. And you
       would have to do it, potentially, for different time periods within your four-year damage period; would you
       not? A: Potentially. Q: And all of those analyses, those market analyses would have to be done individually
       by you in order to complete your damages calculation for the potential class, correct? […] A: I mean, as I
       understand it, right now, we're assessing class, so if I were to, ultimately, provide a damages opinion, I and
       my team would -- would calculate that.”).
 166
       Prince Report Back Up Materials, Figure 6 Hotel Data.xlsx.


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       but if there was information that suggested otherwise, I could incorporate it.”172 But he does

       not explain how he would do so. These differences in tastes and choices between business

       travelers and vacation travelers would have to be taken into account and would add to the

       already individualized analysis necessary to apply the Prince Report’s model.

84. In its supporting materials, the Prince Report indicates it selected between eight and ten

       competitor hotels for the four focal hotels listed in Figure 6 of the Prince Report.173 But the

       Prince Report does not disclose how it selected these competitor hotels. Given the lack of

       information, I was unable to replicate the Prince Report’s analysis. By offering no guidance

       for how to define a set of competitor hotels, the Prince Report has not demonstrated how its

       selection of competitor hotels aligns with the hotel industry’s general practice. By failing to

       demonstrate that competitor hotels will be selected in accordance with industry practice, the

       Prince Report fails to demonstrate it can select a set of competitor hotels that reliably reflects

       the competitive marketplace for any focal hotel. But the set of competitor hotels represents a

       critical input to the Prince Report’s Benefit of the Bargain model. Therefore, the Benefit of the

       Bargain model’s reliance on an unreliable input makes it unreliable as well.

           2. Determining the Outside Option

85. For each market, the Prince Report also proposes to define an outside option represented by all

       theoretically remaining hotels in the relevant market.174 These theoretically remaining hotels

 172
       Prince Deposition, pp. 106:15–107:20 (“Q. Does a person traveling for business or pleasure have an impact
       on which hotel he or she will consider staying at? A. It could. Q. So a business traveler may be looking at a
       different set of competing hotels than a vacation traveler, even within the same city; is that true? A. I believe
       that's possible. Q. People traveling with their kids may have different target hotels than those who are
       vacationing without kids, right? A. That's possible. Q. So they would be looking at distinct sets of competing
       hotels? A. They could be. Q. And, in fact, vacation travelers may, actually, be considering hotels in different
       cities across the country? A. Yes, they could. Q. Does your model account for any of those differences in
       competitive markets within each of the cities you were looking at? A I don't incorporate those aspects. As I
       said, I look at geography and tier. I don't have reason to believe that's going to affect my results but if there
       was information that suggested otherwise, I could incorporate it”).
 173
       Prince Report Back Up Materials, Figure 6 Hotel Data.xlsx.
 174
       The Prince Report does not identify specific hotels when defining the outside option. Instead, the outside
       option is meant to represent the market share for any remaining hotels not specifically identified in the Benefit
       of the Bargain model. Prince Report, Footnote 209 (“For this demonstration of the market simulation model,
       I estimate the outside option share according to studies of consumer consideration sets for booking hotels.



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       would include any hotel that may be a competitor to the focal hotel but is not explicitly included

       in the Prince Report’s Benefit of the Bargain model. Utilizing outside options is a common

       tool in modeling that allows the simulated model to choose an alternative other than those

       explicitly identified in the Prince Report’s model. The Prince Report defines this outside option

       by assuming that each relevant market can be represented by a consideration set of 34 hotels,175

       and that “[o]utside option calculations can be calibrated further with market data, and would

       not require individualized inquiry to do so.”176 In practice, this means that for each Starwood

       hotel, the Prince Report proposes to select a competitor set of seven to nine hotels for the focal

       hotel177 and then assumes that an anonymous set of 24-26 hotels make up the outside option,
       meaning the outside option constitutes the majority of each of the relevant markets.

86. The Prince Report does not explain how it proposes to calibrate the outside option to the

       various relevant markets. Each hotel market will be unique not only to the hotel’s geographic

       location, but also to the time of booking. Even if the Prince Report contemplates further

       research, it fails to disclose how individualized market data can be applied to the calibration

       without first undertaking a threshold individualized inquiry to collect the hotel- and time-

       specific market data.




       One such study indicates a consideration set of 33.9 […] Thus I apply an outside option share that assumes
       34 additional properties in the consideration set where properties not included in the list of nearest
       competitors (i.e., those utilized by the businesspeople for setting prices) have shares that are on average equal
       to average share of the firms expressly modeled. Outside option calculations can be calibrated further with
       market data, and would not require individualized inquiry to do so.”); and Prince Deposition, p. 147:13–21
       (“Q: And the reason you're going through the trouble of -- that you describe in footnote 209 is because you
       need this information about the outside option to calculate your market share, correct? A: It rounds out the
       model, so it allows for, you know, the standard modeling of what we call “inside choices” which are the
       hotels I specified and the outside option, something else.”).
 175
       Prince Deposition, pp. 151:22–152:8 (“Q: But you used it for that purpose, you used it for very disparate
       markets; did you not? A: I used it as what I thought was a reasonable estimate for the size of the consideration
       set. Q: Even though Iowa City and Orlando, for example, are greatly different hotel markets right? A: They’re
       different hotel markets, yes.”).
 176
       Prince Report, Footnote 209.
 177
       As seen in the backup to Prince Report Figure 6, seven competing hotels were identified for each of the
                      and         markets, while nine competing hotels were identified in the               market.
       Prince Report Back Up Materials, Figure 6 Hotel Data.xlsx.


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87. The Prince Report fails to disclose whether it intends to select alternative outside option values

       for each market, and if it does, how it plans to do so. The Prince Report simply states, “[f]or

       this demonstration of the market simulation model, I estimate the outside option share

       according to studies of consumer consideration sets for booking hotels. One such study

       indicates a consideration set of 33.9.”178

88. The Prince Report does not justify why an outside option of 34 hotels is an appropriate

       consideration set that defines the total number of hotels that are in the market for the hotel for

       each of these disparate markets and heterogeneous traveler types. The study that the Prince

       Report cites concludes that “the size of these [consideration] sets may be influenced by the size

       of the hotel market from which the selection is being made.”179 The study determines its 34-
       hotel consideration set based on an analysis of the Las Vegas area, which I would expect to

       look different from many local markets. Indeed, the article says, “The results [from the study]

       almost certainly are not generalisable to all hotels or all hotel markets, nor to market segments

       other than that represented in this study.”180 The article focuses only on leisure travelers, and

       therefore provides no basis for developing a consideration set for business travelers.181

89. The Prince Report’s assumption that a 34-hotel consideration set is applicable to each relevant

       market is a flawed assumption and would produce unreliable results. Further, identifying a

       proper consideration set for each relevant market and customer segment would require

       individualized inquiry for each market.




 178
       Prince Report, Footnote 209.
 179
       Jones, Peter and Meng-Mei Chen, “Factors Determining Hotel Selection: Online Behaviour by Leisure
       Travellers,” Tourism and Hospitality Research, Vol. 11, No. 1, January 1, 2011, pp. 83–95, at p. 90.
 180
       Jones, Peter and Meng-Mei Chen, “Factors Determining Hotel Selection: Online Behaviour by Leisure
       Travellers,” Tourism and Hospitality Research, Vol. 11, No. 1, January 1, 2011, pp. 83–95, at pp. 90–91.
 181
       Jones, Peter and Meng-Mei Chen, “Factors Determining Hotel Selection: Online Behaviour by Leisure
       Travellers,” Tourism and Hospitality Research, Vol. 11, No. 1, January 1, 2011, pp. 83–95, at p. 83 (“It
       reveals the decision-making process and factors affecting choice for a specific market segment, namely
       leisure travellers”).


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           3. Collection of Contemporaneous Competitive Prices

90. The Prince Report’s Benefit of the Bargain model relies on the market shares,182 marginal

       costs, and contemporaneous competitor prices (across time, geography, and booking platform)

       to simulate the competitive response to the change in willingness to pay for Marriott hotels,

       post-data breach. This simulation results in the plaintiffs’ claimed overcharge.

91. The Prince Report uses an online travel agency, Expedia, to identify the prices for the

       weeknight stay at each property.183 The prices were collected from April 14 through April 19,

       2021, rather than during the class period that the Prince Report identifies as 2014-2018.184

92. In his deposition, Professor Prince stated that contemporaneous Expedia prices are merely

       illustrative, and that he would obtain alternative data.185 Professor Prince stated in his

       deposition that he has “not engaged in that, but I’m confident that that information could be

       gathered.”186 However, it is not clear to me that it is possible to collect such data. These

       contemporaneous prices would need to be collected for each of Marriott’s competitors for the

       1,200 to 1,500 Starwood hotels187 at which class members made a reservation during the class

 182
       These market shares are determined by the competitor set described in IV.B.1.and the counts of hotels
       informed by the outside option described in IV.B.1.b.
 183
       Prince Report, ¶ 111.
 184
       Prince Deposition, pp. 174:20–175:3 (“Q: Professor, I looked at a number of your Expedia citations in your
       materials considered, and it appeared to me that the price checks were run in approximately April 14th or so
       of 2021. Does that sound right? A: That does sound right.”).
 185
       Prince Deposition, pp. 178:17–179:18 (“Q: Okay. And if you were ever asked to do an actual damages
       calculation, would you, then, have to go get the observed, real-world price from the actual time of this stay
       that you're looking at? A: That's what I would expect to do. […] Q: And how would you go about determining
       by using the example I gave you before of a stay on January 1st, 2015, how would you go about determining
       what the Iowa House Hotel was charging on that date? A: I would -- I would consult relevant data sources.
       So I could go and look at historical pricing, use Internet archive. I could purchase data that would have pricing
       information over time. So I, obviously, have not engaged in that, but I'm confident that that information could
       be gathered.”).
 186
       Prince Deposition, pp. 179:17–18 (“Q: And how would you go about determining by using the example I
       gave you before of a stay on January 1st, 2015, how would you go about determining what the Iowa House
       Hotel was charging on that date? A: I would -- I would consult relevant data sources. So I could go and look
       at historical pricing, use Internet archive. I could purchase data that would have pricing information over
       time. So I, obviously, have not engaged in that, but I'm confident that that information could be gathered.”).
 187
       After the merger, Starwood properties can be identified by looking for the following brands in the tables
       listing the number of properties: W Hotels, The Luxury Collection, St. Regis, Sheraton, Westin, Le Méridien,
       Tribute Portfolio, Four Points, Aloft Hotels, and Element Hotels. Starwood Hotels & Resorts Worldwide,
       Inc., “Form 10-K,” December 31, 2014, available at



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       period. A reservation for a given day may have different prices depending on when the

       reservation is made. Collecting contemporaneous prices during various booking windows,

       however, further complicates the process of correctly identifying historical prices. This is

       something which the Prince Report methodology has not yet grappled with.188

93. By failing to identify a precise data source for contemporaneous prices, the Prince Report fails

       to explain how the Benefit of the Bargain model could be applied classwide.

           4. Deriving the Relevant Market Prices for Just One of the Bellwether Plaintiffs Would
              Require Extensive Analysis

94. As an example of the individualized analysis required by the supply-side of the Prince Report’s

       Benefit of the Bargain model, consider three reservations made by Plaintiff Cullen. Plaintiff

       Cullen booked a                    stay at                                            hotel on
               a            stay at the                                                        on
                                                                                                                         189
       and a                stay at the                                               hotel on

       Plaintiff Cullen’s visits to the two airport hotels appear to be work-related trips since Plaintiff

       Cullen received reimbursement from his employer for these two reservations.190




        https://www.sec.gov/Archives/edgar/data/316206/000119312515062758/d838837d10k.htm, p. 2; Starwood
       Hotels & Resorts Worldwide, Inc., “Form 10-K,” December 31, 2015, available at
       https://www.sec.gov/Archives/edgar/data/316206/000156459016013371/hot-10k_20151231 htm, p. 2;
       Marriott International, Inc., “Form 10-K,” December 31, 2016, available at https://marriott.gcs-
       web.com/static-files/eb3efa90-4311-454f-a430-0e03f2344ee0, pp. 7–8; Marriott International, Inc., “Form
       10-K,” December 31, 2017, available at https://marriott.gcs-web.com/static-files/ea577917-fe7f-4696-9eb7-
       dcf0fd356737, pp. 7–8; and Marriott International, Inc., “Form 10-K,” December 31, 2018, available at
       https://marriott.gcs-web.com/static-files/a9e39469-3202-4593-bbaa-cc3b71a67a9d, pp. 6–7.
 188
       Prince Report, ¶ 111 (“The same dates of stay were examined for each hotel within a given geography and
       were sampled at the same point in time to avoid capturing price fluctuations resulting from different booking
       windows or different dates of stay.”).
 189
       These examples were identified by reviewing the reservations for Plaintiff Cullen using Exhibit 73 from his
       deposition. Cullen Deposition, Exhibit 73.
 190
       To determine if a trip is work related, I used the column in Exhibit 73 from Plaintiff Cullen’s deposition,
       which indicates whether reimbursement was received for the reservation. Plaintiff Cullen testified that he is
       reimbursed for work related travel so I assume the reservations where a reimbursement is indicated reflect
       work travel. Cullen Deposition, p. 104:6–9 (“Q: You have access to a web system where you can see your
       reimbursements for work travel. Correct? A: There's -- there's a -- yeah, there's -- I -- I can see transaction
       lists for work expenses.”).


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95. To apply the Benefit of the Bargain model to these reservations, the Prince Report must

       undertake multiple, separate inquires for each reservation. First, the Prince Report must

       identify: hotels competing                                                   hotel in and around 2014; hotels

       competing with the                                                             in and around 2016; and hotels

       competing with the                                                  in and around 2016. To determine the

       actual competitors, it would need to consider whether and how the market would be influenced

       by the purpose of the travel (that is, business or leisure). Second, the Prince Report must

       determine an estimate for the outside option for each hotel, which requires a selection of the

       consideration set for the                          market, the                resort market, and the

       airport market. Third, the Prince Report must locate contemporaneous prices for

                                             hotels, along with contemporaneous prices for each of the three

       hotel’s set of competitor hotels during the booking windows for each reservation (which the

       Prince Report has not demonstrated can be located).

96. Accurately analyzing the overpayment for just three reservations of one plaintiff through the

       Prince Report’s Benefit of the Bargain model requires many individualized analyses. And the

       Prince Report suggests performing each of these analyses for every stay of every potential class

       member.

           5. The Prince Report’s Benefit of the Bargain Model Is Sensitive to Its Inputs

97. In his deposition, Professor Prince emphasizes that the Benefit of the Bargain model is intended

       to demonstrate the method he would use with to-be-determined-later inputs.191 However, these

       inputs are critical. Indeed, seemingly small changes in the inputs can have a large impact on

       the alleged overcharge the Prince Report’s model estimates.



 191
       Prince Deposition, p. 165:8–19 (“Q. So you see no issue or no problem with analyzing the competition that
       would have existed between 2014 and '18 by considering a hotel that wasn't open until more than a year after
       the close of that period? A. Well, as we discussed before, you had talked about my model would require that
       I have to run it over and over again for different time periods. This speaks exactly to that point. I'm
       demonstrating it on current data, but it's very clear that one could go and run it for 2018, 2017, 2016. I simply
       demonstrated it on a 2021”).


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98. To illustrate this sensitivity, I reran the Prince Report’s model with corrections for two small

       data errors that Professor Prince acknowledged in his deposition.

       a. Each of the hotels in                    have a fitness center.192

       b. The Hyatt Place hotel in                      may have wi-fi Internet.193

99. Making just these two modifications to the Prince Report model reduces the estimated

       overcharge in the                    example from $5.44 to $3.23, a decline of 41 percent.194 The

       Benefit of the Bargain model requires historical data.195 However, as this example

       demonstrates, the reliability of this historical data is essential as small errors in the data can

       have a large effect on the alleged overcharge. The Prince Report’s failure to identify a reliable


 192
       Prince Deposition, pp. 160:17–162:18 (“Q In your Exhibit 480, you indicate that the               does not have
       a fitness center. Do you see that? A Yes, I see that. Q You list it as the only hotel among your competitor set
       in             that you say does not have a fitness center? A Yes, I see that. […] Q And this is a printout of
       the website for the                               Do you see that on the top left? A Yes, I do. […] Q Do you
       see, under the heading fitness and recreation, where it says, "fitness center on site"? A Let's see; I think I
       need to scroll down. Yes, I see that. […] Q Well, why would they make a mistake like that? I mean, everyone
       has a fitness center in           except for the          but the            has one. I mean, how did your team
       miss that? A I can't speak to exactly what happened. It might be that they just didn't catch the second page
       here. But I can speak with them about it and make a correction.”).
 193
       Prince Deposition, pp. 169:21–171:11 (“Q: Speaking of the                              downtown, you list it as
       the only hotel in your set that doesn't have free Wi-Fi in the room. A: Yes, that's how it's listed there. […] Q:
       Do you see, halfway down on the right, where it says among the amenities are free Internet access? A: I do
       see that. Q: So, again, your team made a mistake, I take it? A: I'd want to investigate this one further. As you
       saw in the spreadsheet, it says "free in-room Wi-Fi." I'd want to clarify what they're specifying here is
       equivalent. Q: I see. So this might be free Internet access but not in the room? A: Correct. Q: Okay. Would
       you find that to be a bit misleading, if that were the case? A: Not necessarily. I'd want to investigate this
       document further. I'm just explaining the possible, just, difference here.”). The Hyatt website indicates there
       is free internet access but does not clarify if this is in the rooms or only in designated locations. For the
       purposes of this example I assumed the hotel offered free in-room Wi-Fi. See Hyatt,
       Downtown,” available at https://www hyatt.com/en-US/hotel/iowa/hyatt-place-iowa-city-downtown/iowzi.
 194
       To arrive at this figure, I made two modifications to the R code that the Prince Report uses to run the market
       simulation. By comparing the table in Figure 6 Hotel Data.xlsx to the matrix of zeros and ones in the R code,
       I identified the 0/1 in the code corresponding to Wi-Fi for the Hyatt Place hotel and fitness center for the
                             and changed the zero to a one in both instances. Prince Report Back Up Materials, Figure
       6 Hotel Data.xlsx; and Prince Report, Figure 6.
 195
       Prince Deposition, pp. 164:15–165:19 (“Q: Yet, you selected it to be one of your comparators in your market
       competition analysis for             Why would you include a hotel that wasn't even open during the damage
       period you're supposedly looking at? A: Well, because I conducted this as a demonstration of the method and
       since I was using information from a current period, then current information is relevant. […] Q: So you see
       no issue or no problem with analyzing the competition that would have existed between 2014 and '18 by
       considering a hotel that wasn't open until more than a year after the close of that period? A: Well, as we
       discussed before, you had talked about my model would require that I have to run it over and over again for
       different time periods. This speaks exactly to that point. I'm demonstrating it on current data, but it's very
       clear that one could go and run it for 2018, 2017, 2016. I simply demonstrated it on a 2021.”).


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       source for historical data confirms that the Benefit of the Bargain model cannot be applied

       classwide in a reliable manner.

       C. The Prince Report’s Benefit of the Bargain Model Would Provide Windfall Gains to
          Certain Bellwether Plaintiffs Without Record-by-Record Analysis

100. The Prince Report’s Benefit of the Bargain model proposes to apply “overcharges to data on

       Plaintiffs’ booking to calculate class-wide damages.”196 However, according to Professor
       Prince, it may be inappropriate to assign all the damages associated with plaintiffs’ reservations

       to the plaintiffs. In his deposition, Professor Prince testified that he believed the person or

       entity that actually paid for a hotel stay would receive any applicable damages.197 But

       bellwether plaintiffs’ data and documents reveal that the party on a reservation may not be the

       actual paying party. For example, data from stay spreadsheets provided by the bellwether
                                                                                                       198
       Plaintiffs identify                                                                                   Plaintiff Eric

       Fishon provided further data as part of this litigation that indicates that of his
                                                                                                 199
       his employer reimbursed him                                                                     According to the

       Prince Report’s methodology, therefore, Plaintiff Fishon’s employer should be reimbursed for

                                    But the understanding that Plaintiff Fishon’s employer paid

                  came from an individualized discovery response from Plaintiff Fishon -- not formulaic

       data in the Four Tables. And without that individualized discovery response, the Prince
       Report’s Benefit of the Bargain model would have calculated an overpayment applicable to

       Plaintiff Fishon for                                               , which would provide Plaintiff Fishon




 196
       Prince Report, ¶ 120.
 197
       Prince Deposition, p. 198:8–20 (“Q: And was it your thinking, when you thought about it, that I'm still going
       to charge the overcharge percentage but I'm going to award it to the entity that actually reimbursed the hotel
       guest? Is that your thinking? A: That's the way I would think about it. Q: Okay. And would the same apply
       if I treat a family member, if I allow my daughter to go on a trip with one of her friends and I pay for it, I'd
       be the one to get the reimbursement, or I'd be the one to get the damages that you're calculating? A: That's
       the way I would think about it.”).
 198
       Fishon Deposition, Exhibit 099.
 199
       Fishon Deposition, Exhibit 099.


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                                    Appendix A
                             C ATHERINE T UCKER
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E DUCATION

Stanford University, Ph.D. in Economics (Advisor: Tim Bresnahan), 2005
Oxford University, BA in Politics, Philosophy and Economics, 1999



A PPOINTMENTS

MIT Sloan, Sloan Distinguished Professor of Management Science, September 2015 –
MIT Sloan, Chair MIT Sloan PhD Program, July 2015 –
MIT Sloan, Professor of Management Science, July 2015 –
MIT, Co-Founder of the MIT CryptoEconomics Lab, 2018 -
National Bureau of Economic Research (NBER), Research Associate, September 2012 –
MIT Sloan, Mark Hyman Jr. Career Development Professor (with tenure), July 2012 –
September 2015
MIT Sloan, Associate Professor of Management Science, July 2011 – July 2015
National Bureau of Economic Research (NBER), Faculty Research Fellow, May 2011 –
September 2012
MIT Sloan, Douglas Drane Career Development Chair in IT and Management, July 2006 –
MIT Sloan, Assistant Professor of Marketing, July 2005 – June 2011




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H ONORS AND AWARDS

2020         CITI Fellowship (Columbia University Institute of TeleInforma-
             tion)
2020         O’Dell Award
2020         TechSIG-Lazaridis Prize for Best Paper in Innovation, Technol-
             ogy and Interactivity for 2019
2018         ISMS Long Term Impact Award
2018         O’Dell Award
2018         MSI Scholar
2017         Congressional Testimony on ‘Algorithms: How Companies’ Deci-
             sions About Data and Content Impact Consumers’
2017         Nominated for Teacher of the Year award (Also in 2012, 2010 and
             2009)
2015         Erin Anderson Award
2014         Paul E. Green Award
2013         Teacher of the Year Award, MIT Sloan
2013         Jamieson Prize for Excellence in Teaching
2012         Garfield Economic Impact Award for Best Paper in Health Eco-
             nomics
2011         WHITE Award for best paper in the Economics of Healthcare IT
2011         Public Utility Research Prize for the best paper in regulatory
             economics
2011         NSF CAREER Award
2011         MSI Young Scholar
2010         Management Science Distinguished Service Award
2004         Koret Foundation Scholar, Stanford Institute for Economic Policy
             Research Fellowship
2004         Fourth Annual Claire and Ralph Landau Student Working Paper
             prize



P UBLISHED /A CCEPTED PAPERS

 1. ‘Identifying Formal and Informal Influence in Technology Adoption with Network
    Externalities’, Management Science, Vol. 55 No. 12, December 2008, pp. 2024-2039

 2. ‘Privacy Protection and Technology Diffusion: The Case of Electronic Medical Records’
    with Amalia Miller, Management Science (Lead Article), Vol. 55 No. 7, July 2009, pp.

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 3. ‘How Sales Taxes Affect Customer and Firm Behavior: The Role of Search on the
    Internet’ with Eric Anderson, Nathan Fong and Duncan Simester, Journal of
    Marketing Research, Vol. 47 No. 2, April 2010, pp. 229-239

 4. ‘Growing Two-sided Networks by Advertising the User Base: A Field Experiment’, with
    Juanjuan Zhang, Marketing Science, Vol. 29 No. 5, September-October 2010, pp.
    805-814

 5. ‘Privacy Regulation and Online Advertising’ with Avi Goldfarb, Management Science,
    Vol. 57 No. 1, January 2011, pp. 57-71

      • Nominated for Long Term Impact Award 2020

 6. ‘Search Engine Advertising: Channel Substitution when Pricing Ads to Context’, with
    Avi Goldfarb, Management Science, Vol. 57 No 3, March 2011, pp. 458-470

 7. ‘Stuck in the Adoption Funnel: The Effect of Interruptions in the Adoption Process on
    Usage’ with Anja Lambrecht and Katja Seim, Marketing Science, Vol. 30 No. 2,
    March-April 2011, pp. 355-36

 8. ‘Advertising Bans and the Substitutability of Online and Offline Advertising’, with Avi
    Goldfarb, Journal of Marketing Research (Lead Article), Vol. 48 No. 2, April 2011, pp.
    207-227

 9. ‘Can Healthcare Information Technology Save Babies?’ with Amalia Miller, Journal of
    Political Economy, Vol. 119 No. 2, April 2011, pp. 289-324

10. ‘How Does Popularity Information Affect Choices? A Field Experiment’ with Juanjuan
    Zhang, Management Science, Vol. 57 No. 5, May 2011, pp. 828-842

11. ‘Online Display Advertising: Targeting and Obtrusiveness’ with Avi Goldfarb,
    Marketing Science (Lead Article and Discussion Paper), Vol. 30 No. 3, May-June 2011,
    pp. 389-404

      • ‘Rejoinder - Implications of "Online Display Advertising: Targeting and
        Obtrusiveness’ with Avi Goldfarb, Marketing Science, Vol. 30 No. 3, May-June
        2011, pp. 413-415
      • Nominated for John D. C. Little Award
      • Nominated for Long Term Impact Award 2017

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      • Long Term Impact Award 2018

12. ‘Encryption and Data Security’ with Amalia Miller, Journal of Policy Analysis and
    Management, Vol. 30 No. 3, Summer 2011, pp. 534-556

13. ‘Paying With Money or With Effort: Pricing When Customers Anticipate Hassle’ with
    Anja Lambrecht, Journal of Marketing Research, Vol. 49 No. 1, February 2012, pp.
    66-82.

14. ‘Heterogeneity and the Dynamics of Technology Adoption’ with Stephen Ryan,
    Quantitative Marketing and Economics, Vol 10 No. 1, March 2012, pp 63-109

15. ‘Shifts in Privacy Concerns’, American Economic Review: Papers and Proceedings with
    Avi Goldfarb, Vol. 102 No. 3, May 2012, pp. 349-53

16. ‘How does the Use of Trademarks by Intermediaries Affect Online Search?’ with Lesley
    Chiou. Marketing Science, Vol 31 No. 5, September 2012, pp 819-837

17. ‘Active Social Media Management: The Case of Health Care’ with Amalia Miller.
    Information Systems Research, Vol. 24 No. 1, March 2013, pp. 52-70

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18. ‘Paywalls and the Demand for News’ with Lesley Chiou. Information Economics and
    Policy, Vol. 25 No. 2, June 2013, pp. 61-69

19. ‘Days on Market and Home Sales’ with Juanjuan Zhang and Ting Zhu. RAND Journal
    of Economics, Vol. 44 No. 2, Summer 2013, pp. 337-360,

20. ‘When Does Retargeting Work? Timing Information Specificity’ with Anja Lambrecht.
    Journal of Marketing Research (Lead Article) Vol. 50 No. 5, October 2013, pp. 561-576

      • Paul E. Green Award for the ‘Best article in the Journal of Marketing Research
        that demonstrates the greatest potential to contribute significantly to the practice
        of marketing research.’
      • William O’Dell Award. This award award honors the JMR article published in
        2013 that has made the most significant, long-term contribution to marketing
        theory, methodology, andor practice

21. ‘Health Information Exchange, System Size and Information Silos’ with Amalia Miller.
    Journal of Health Economics, Vol. 33 No. 2, January 2014: pp. 28-42




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22. ‘Electronic Discovery and the Adoption of Information Technology’ with Amalia Miller.
    Journal of Law, Economics, & Organization (Lead Article), Vol. 30. No. 2, May 2014,
    pp. 217-243

23. ‘Social Networks, Personalized Advertising, and Privacy Controls.’, Journal of
    Marketing Research, Vol. 51 No. 5, October 2014, pp. 546-562.

      • Citation of Excellence Award Emerald Publishing
      • Nominated for William O’Dell Award (2019)

24. ‘Trademarks, Triggers, and Online Search’ with Stefan Bechtold. Journal of Empirical
    Legal Studies, Vol. 11 No. 4, December 2014

25. ‘The Reach and Persuasiveness of Viral Video Ads’ Marketing Science, Vol. 34 No. 2,
    2015, pp. 281-296

26. ‘Privacy Regulation and Market Structure’ with James Campbell and Avi Goldfarb.
    Journal of Economics & Management Strategy, Vol 24, No. 1, Spring 2015, pp. 47-73

27. ‘Standardization and the Effectiveness of Online Advertising’ with Avi Goldfarb.
    Management Science, Vol. 61 No. 11, 2015, pp. 2707-2719

28. ‘Harbingers of Failure’ with Eric Anderson, Song Lin and Duncan Simester. Journal of
    Marketing Research (Lead Article), Vol. 52 No. 5, Oct 2015, pp. 580-592

      • William O’Dell Award. This award award honors the JMR article published in
        2015 that has made the most significant, long-term contribution to marketing
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    6347, 2017 pp. 135-136

31. ‘Network Stability, Network Externalities, and Technology Adoption’ in Advances in
    Strategic Management, Vol. 37, 2017, pp.151 - 175

32. ‘Digital Content Aggregation Platforms: The Case of the News Media.’ with Lesley
    Chiou - Journal of Economics & Management Strategy, Vol. 26 No. 4, 2017, pp. 782-805




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33. ‘Should You Target Early Trend Propagators? Evidence from Twitter’ with Anja
    Lambrecht and Caroline Wiertz (Lead Article). Marketing Science, Vol. 37 No. 2, 2018,
    pp. 177-199

34. ‘Privacy Protection, Personalized Medicine and Genetic Testing’ with Amalia Miller.
    Management Science, Vol. 64 No. 10, 2018, pp. 4648-4668.

35. ‘Digital Economics’ with Avi Goldfarb, Journal of Economic Literature, Vol. 57 No. 1,
    2019, pp. 3-43

36. Collusion by Algorithm: Does Better Demand Prediction Facilitate Coordination
    Between Sellers? with Jeanine Miklós-Thal Management Science, Vol. 65 No. 4, 2019,
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37. ‘Algorithmic Bias? An Empirical Study into Apparent Gender-Based Discrimination in
    the Display of STEM Career Ads ’ with Anja Lambrecht. Management Science 2019,
    Vol 65, No 7, pp. 2966-2981

      • TechSIG-Lazaridis Prize for Best Paper in Innovation, Technology and
        Interactivity for 2019

38. ‘How Effective Is Black-Box Digital Consumer Profiling And Audience Delivery?:
    Evidence from Field Studies’ with Nico Neumann and Tim Whitfield.
    Marketing Science, Dec, 2019, Vol 38, No 6, pp. 918-926 (Lead Article)

39. The Surprising Breadth of ‘Harbingers of Failure’ with Duncan Simester and Clair
    Yang. Journal of Marketing Research 2019, Vol 56, No. 6, pp 1034-1049

40. ‘Consumer privacy and the future of data-based innovation and marketing.’ with
    Alexander Bleier and Avi Goldfarb. Forthcoming at International Journal of Research
    in Marketing

41. ‘Information Shocks and Internet Silos: Evidence from Creationist Friendly
    Curriculum’ with Ananya Sen. Forthcoming at Journal of Marketing Research

42. ‘Informational Challenges in Omnichannel Marketing: Remedies and Future Research’
    with Tony Cui, Anindya Ghose, Hanna Halaburda, Raghuram Iyengar, Koen Powels, S.
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43. ‘How Do Restrictions on Advertising Affect Consumer Search?’ with Lesley Chiou.
    Forthcoming Management Science




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44. ‘Modeling Social Interactions: Identification, Empirical Methods and Policy
    Implications’ with Wes Hartmann, Puneet Manchanda, Harikesh Nair, Matt Bothner,
    Peter Dodds, David Godes and Karthik Hosanagar, Marketing Letters, Vol. 19 No. 3,
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46. ‘Online Advertising’, with Avi Goldfarb, Advances in Computers, Vol. 81, March 2011,
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    Review, 2012, Vol 19 No 5., pp. 1211-1227.

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    2013, Sloan Management Review

54. ‘The Implications of Improved Attribution and Measurability for Antitrust and Privacy
    in Online Advertising Markets’, George Mason Law Review, Vol. 2 No. 2, pp. 1025-1054
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55. ‘Patent Trolls and Technology Diffusion’ Chapter in NBER book ‘Standards, Patents
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    Simon Anderson and Joel Waldfogel

57. Frontiers of Health Policy: Digital Data and Personalized Medicine, Innovation Policy
    and the Economy, Vol. 15, 2016, Josh Lerner and Scott Stern (Eds), NBER

58. ‘Impacts of Surveillance on Behavior’ with Alex Marthews, in Gray, David C. and
    Henderson, Stephen (Editors), The Cambridge Handbook of Surveillance Law (2017).

59. ‘On Storks and Babies: Correlation. Causality and Field Experiments, ’ with Anja
    Lambrecht, GfK Marketing Intelligence Review, Vol 8. No 2. 2016

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    Analytics, Edited by Natalie Mizik and Dominique Hanssens, Edward Elgar
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61. ‘Can Big Data Protect a Firm from Competition?’, CPI Chronicle, January, 2017 with
    Anja Lambrecht

62. Network Effects and Market Power: What Have We Learned in the Last Decade?
    Antitrust Vol. 32 No 2., Spring 2018

63. ‘Inequality, Privacy and Digital Market Design’, with Avi Goldfarb, Chapter in Fair by
    Design edited by Scott Kominers and Alex Teytelboym, 2017, Oxford University Press

64. ‘Digital Data, Platforms and the Usual [Antitrust] Suspects: Network Effects,
    Switching Costs, Essential Facility’ Review of Industrial Organization Volume 54, pp
    683–694 (2019)

65. ‘Antitrust and Costless Verification: An optimistic and a pessimistic view of the
    implications of blockchain technology’ with Christian Catalini, Antitrust Law Journal -
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66. Online Advertising and Antitrust: Network Effects, Switching Costs and Data as an
    Essential Facility. April 2019, ‘Competition Policy International’

67. Blockchain and Identity Persistence, with Alex Marthews, Chapter in Cryptoassets:
    Legal, Regulatory, and Monetary Perspective, edited by Chris Brummer, Oxford
    University Press, 2019.

68. ‘Digital Marketing,’ with Avi Goldfarb, in the Handbook of the Economics of Marketing,
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69. ‘Privacy Policy and Competition’, with Alex Marthews. Brookings Papers

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70. Digital Infrastructure: Does the ‘Coring’of Digital Platforms make them part of Digital
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71. Competition in the Digital Advertising Market, The Global Antitrust Report on the
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72. The Evolution of Antitrust in the Digital Era: Essays on Competition Policy, with David
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73. Blockchain: The Insights You Need from Harvard Business Review (HBR Insights
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74. Economic Analysis of the Digital Economy, University of Chicago Press, 2015, with Avi
    Goldfarb and Shane Greenstein

75. The Economics of Digitization, Edward Elgar Publishing, 2013., with Avi Goldfarb and
    Shane Greenstein



    P OLICY W RITING

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    December 2010

77. Written Congressional Testimony on ‘Internet Privacy: The Impact and Burden of
    European Regulation,’ U.S. House Energy and Commerce Committee, September 2011

78. Written Congressional Testimony on ‘Algorithms: How Companies’ Decisions About
    Data and Content Impact Consumers,’ U.S. House Energy and Commerce Committee,
    November 2017



    PAPERS UNDER R EVIEW

79. ‘Social Advertising: How Advertising that Explicitly Promotes Social Influence Can
    Backfire’. Revise and resubmit at Management Science

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   Case 8:19-md-02879-JPB Document 1019-4 Filed 05/05/22 Page 77 of 104



80. ‘Patent Trolls and Technology Diffusion: The Case of Medical Imaging’ Revise and
    resubmit at RAND Journal of Economics

81. ‘Third-Party Certification: The Case of Medical Devices’ with Cristina Nistor Revise
    and resubmit at Management Science

82. ‘Guns, Privacy and Crime’ with Alessandro Acquisti Revise and resubmit at
    Information Systems Research

83. ‘Does IT Lead to More Equal or More Unequal Treatment? An Empirical Study of the
    Effect of Smartphone Use on Social Inequality in Employee-Customer interactions’
    with Shuyi Yu. Revise and resubmit at Journal of Marketing Research

84. ‘The Digital Privacy Paradox: Small Money, Small Costs, Small Talk’ with Susan Athey
    and Christian Catalini, Revise and resubmit at Journal of Marketing Research

85. ‘Tensile Promotions in Displays Advertising’ with Anja Lambrecht Revise and resubmit
    at Quantitative Marketing and Economics

86. ‘A New Method of Measuring Online Media Advertising Effectiveness: Prospective
    Meta-Analysis in Marketing’ with Gui Liberali, Glen L. Urban, Benedict G. Dellaert,
    Yakov C. Bart, and S. Stremersch.

87. ‘Apparent Algorithmic Discrimination and Real-Time Algorithmic Learning with Anja
    Lambrecht

88. ‘Personalizing mental fit for online shopping applications - How the success of
    recommendations depends on mental categorization and mental budgeting’ with Oliver
    Emrich and Thomas Rudolph.

89. ‘Government Surveillance and Internet Search Behavior’ with Alex Marthews

90. ‘TV Advertising and Online Sales: The Role of Inter-Temporal Substitution’ with Anja
    Lambrecht and Xu Zhang

91. ‘Social Distancing and School Closures: Documenting Disparity in Internet Access
    among School Children’ with Ananya Sen

92. ‘Asymmetric Consequences of Cyber-Vulnerability on Health Services’ with Yiting Deng
    and Anja Lambrecht

93. ‘Tradeoffs in Automated Political Advertising Regulation: Evidence from the COVID-19
    Pandemic’ with Grazia Cecere, Clara Jean, and Vincent Lefrere



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 94. ‘Social Distancing, Internet Access and Inequality’ with Leslie Chiou

 95. ‘Conducting Research with Quasi-Experiments: A Guide for Marketers’ with Avi
     Goldfarb and Yanwen Wang,

 96. Data Deserts and Black Boxes: The Impact of Socio-Economic Status on Consumer
     Profiling with Nico Neumann



     W ORK IN P ROGRESS

     Manuscripts

 97. Health IT and Ambulatory Care Quality with Carole R. Gresenz, Scott Laughery, and
     Amalia R. Miller

 98. ‘Testimonial Advertising on Social Networks to Existing Customers and New
     Customers’ with Shuyi Yu Data Analysis


 99. ‘Data Privacy and Children: An Empirical Study of Mobile Applications’ with Grazia
     Cecere, Fabrice Le Guel, Vincent Lefrere, and Pai-Ling Yin

100. ‘Big Bad Data: The Case of For-Profit College Advertising’ with Avinash Gannamaneni
     and Avi Goldfarb

101. ‘Selection and Inequality in Big Data’ with Amalia Miller

102. ‘Spillovers from Product Failure’ with Amalia Miller

103. ‘Rules For a Nascent Domain: Technological Innovation and Regulatory Uncertainty’
     with Christian Catalini

104. ‘The Shifters and Virality of Hate Speech Online’ with Uttara Ananthakrishnan

105. ‘Privacy, Surveillance and Antitrust’ with Alex Marthews

     Data Collection

106. ‘Mergers and Big Data: Evidence from Healthcare’ with Amalia Miller

107. ‘Privacy Regulation and Education IT’ with Amalia Miller and Avi Goldfarb

108. ‘The Lack of Appeal of Cross-Partisan Appeals: Evidence from an Experiment on
     Facebook’ with Christina Tucker

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 109. ‘The Resillience of Franchise Business Models: Evidence from the Pandemic’ with Avi
      Goldfarb, Verina Que and Shuyi Yu



 I NVITED S EMINARS


 Universities
 1. item April 2021, Marketing Science Institute
 2. April 2021, George Mason University, Law and Economics Seminar
 3. March 2021, Marketing Group, University of Michigan
 4. March 2021, BIDT, Bavarian Academy of Sciences and Humanities
 5. February 2021, University of Virginia, Law and Economics Seminar
 6. January 2021, Marketing Group, Carnegie Mellon University
 7. December 2020, Boston University, Boston Digital Leadership Forum
 8. December 2020, Toulouse University, France
 9. November 2020, Luohan Academy, Platform Economy and Market Dynamics, Virtual
    Seminar
10. November 2020, John Hopkins University
11. October 2020, Wharton, Marketing Group
12. October 2020, ITAM, Mexico City
13. September 2020, Econ, Stats and ML Team, Etsy
14. June 2020, CMU Seminar
15. April 2020, Virtual Digital Economy Seminar
16. March 2020, IS group, University of Minnesota
17. February 2020, Georgia Institute of Technology, GA
18. December 2019, HBS Field Experiments Seminar, Cambridge, MA
19. November 2019, Bank of Canada, Ottawa
20. May 2019, Joint-Economics Seminar, Autonomous University of Barcelona) and the IAE
    (Institute for Economic Analysis)
21. March 2019, LMU Center for Advanced Management Studies in Munich
22. February 2019, Berlin Applied Micro Seminar
23. January 2019, Marketing Group, University of Bologna
24. January 2019, Marketing Group, University College, London
25. January 2019, Marketing Group, London Business School
26. November 2018, Marketing Group, HEC Paris, France
27. November 2018, Management Group, Cass Business School, City University of London,
    UK
28. November 2018, Marketing Group, SOAS University of London
29. November 2018, All Souls College, Oxford
30. November 2018, Economics Group, Paris Telecom
31. October 2018, Marketing Group, University of Amsterdam, Netherlands
32. October 2018, Marketing Group, King’s Business School, King’s College, London
33. September 2018, Marketing Group, University of Frankfurt, Germany
34. June 2018, Harbin Institute of Technology, China

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35. February 2018, IS/OM Group, New York University, NY
36. November 2017, Marketing Group, Rochester University, NY
37. October 2017, Marketing Group, Maryland University, MD
38. May 2017, Marketing Group, Old Dominion University
39. April 2017, Marketing Group, University of Southern California
40. March 2017, Marketing Group, Arison School of Business, IDC, Israel
41. January 2017, Distinguished Speakers Series, McGill University, Canada
42. September 2016, Technology Group, Harvard Business School, MA
43. August 2016, Southern Jiatong University, Sichuan, China
44. May 2016, Chapman University, Marketing Group
45. April 2016, Carnegie Mellon University, Public Policy Group
46. April 2016, Harvard Business School, Entrepreneurial Management Group
47. March 2016, INSEAD, Marketing Group
48. March 2016, University of Paris-Sud, Privacy Research Group
49. March 2016, Vienna University of Economics and Business, Marketing Group
50. September 2015 University of Maryland, IS Group
51. June 2015, Marketing Group, University of Cambridge, UK
52. May 2015, Marketing Group, University of Texas at Dallas, TX
53. March 2015, Health Policy Group, Georgia State University, GA
54. March 2015, Marketing Group, University of Colorado, CO
55. February 2015, Strategy Group, University of North Carolina, NC
56. January 2015, Marketing Group, Emory University, GA
57. December 2014, OPIM, Wharton School of Management, PA
58. October 2014, Economics Department, Yale University, CT
59. September 2014, Marketing Group, Boston University, MA
60. March 2014, Technology Group, University of California at Berkeley, CA
61. January 2014, Marketing Department at Texas A&M
62. November 2013, Marketing Group, University of California at Berkeley, CA
63. October 2013, Marketing Group, Tulane University, LA
64. October 2013, Marketing Group, University of Houston, TX
65. May 2013, Tuck School of Management, Dartmouth University, NH
66. March 2013, Economics Department, University of Toulouse
67. March 2013, Marketing Group, Rotterdam University
68. March 2013, Economics Department, University of Zurich
69. March 2013, Marketing group, Georgia Tech
70. January 2013, Anderson School, UCLA
71. January 2013, Marketing Group, CMU
72. October 2012, Marketing Group, Stanford University
73. October 2012, Marketing Group, Columbia University
74. October 2012, Marketing Group, University of Texas at Austin
75. September 2012, Marketing Group, Harvard Business School
76. June 2012, Strategy Group, London Business School
77. March 2012, Marketing Group, Cornell
78. February 2012, IS Group, Indian School of Business
79. February 2012, Marketing Group, Wharton


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 80. January 2012, Marketing Group, UCLA
 81. November 2011, Marketing Group, University of Rochester
 82. October 2011, Marketing Group, University of Zurich
 83. October 2011, Department of Law and Economics, Swiss Federal Institute of Technology,
     Zurich
 84. May 2011, Marketing Group, National University of Singapore
 85. May 2011, IS Group, National University of Singapore
 86. May 2011, Strategy Group, LMU Munich
 87. May 2011, Marketing Group, New York University
 88. March 2011, Marketing Group, Florida University
 89. February 2011, IS Group, New York University
 90. November 2010, European School of Management and Technology
 91. October 2010, Marketing Group, Yale University
 92. October 2010, Networked Business Group, Harvard Business School
 93. September 2010, TIES Group, MIT Sloan
 94. July 2010, Department of Economics, University of Mannheim
 95. March 2010, Marketing Group, Wharton School, University of Pennsylvania
 96. January 2010, Marketing Group, University of Michigan
 97. November 2009, Marketing Group, University of California at Berkeley
 98. October 2009, Digital Business Seminar, MIT Sloan
 99. December 2008, Marketing Group, MIT Sloan
100. November 2008, Marketing Group, Rady School of Business, UCSD
101. September 2008, Strategy Group, MIT Sloan
102. May 2008, Digital Strategy Group, Tuck School of Business, Dartmouth University
103. April 2008, Kellogg Management and Strategy Group, Northwestern University
104. March 2008, Marketing Group, Duke University
105. March 2008, Strategy Group, Chicago GSB
106. July 2007, Marketing Group, London Business School, London, UK
107. April 2007, Marketing Group, Chicago GSB
108. March 2007, Marketing Group, Rotman School, University of Toronto
109. November 2005, Economics Department, Harvard University
110. October 2004-February 2005 (Job Market): NYU Stern, University of Michigan,
     University of Arizona, University of British Columbia, Federal Reserve Board, Federal
     Reserve Bank of New York, Harvard Business School, Kellogg, MIT Sloan, Federal
     Reserve Bank of Chicago, Stanford Economics Department


     Other
111. April 2021, American Enterprise Institute
112. June 2020, EE Times- Privacy and Security during Covid-19
113. May 2020, The Digital Economy & The Coronavirus, Bertelsmann Foundation Seminar
114. April 2020, Technology Policy Institute
115. October 2018, Digital Competition Expert Panel, HM Treasury, UK
116. October 2018, Competition and Markets Authority, UK
117. January 2018, IMF
118. December 2017, Technology Policy Institute


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119. October 2016, Federal Communications Commission
120. April 2015, Federal Communications Commission
121. November 2014, Office of Research at the Consumer Financial Protection Bureau
122. April 2014, Big Data Working Group, The White House.
123. February 2014, Main Street Patent Coalition, Panel hosted at the Senate by Senator
     Orrin Hatch
124. July 2013, Federal Communications Commission
125. August 2012, DG Competition, European Commission, Brussels
126. August 2012, Technology Policy Institute Conference, Aspen
127. December 2011, Havas Digital, New York
128. June 2011, Eneca
129. September 2010, Federal Trade Commission
130. September 2010, Google European Public Policy Unit, Paris
131. July 2009, Information Technology and Innovation Foundation, Washington DC


  P RESENTATIONS OF R ESEARCH AT C ONFERENCES


  1. March 2021, Digital Economics Seminar, Digital Tutorial
  2. December 2020, Digital Economics Research Network Conference
  3. December 2020, Conference on Artificial Intelligence, Machine Learning, and Business
     Analytics
  4. December 2020, Health Systems Innovation Advisory Board Meeting
  5. November 2020, 2nd Luohan Academy Frontier Dialogue - Platform Economy and Market
     Dynamics
  6. October 2020, Policy Toolkit for a Better Europe, European Commission
  7. September 2020, ICN Annual conference
  8. June 2020, Marketing Science
  9. June 2020, International Competition Network, ‘ Competition law enforcement at the
     intersection of Competition, Consumer Protection, and Privacy’
 10. November 2019, ABA Fall Forum: The Tech Summit, Washington DC.
 11. November 2019, Annual Challenges to Antitrust in a Changing Economy, Harvard Law
     School
 12. October 2019, World Bank Platforms Summit, Washington DC.
 13. September 2019, Economics of AI Doctoral Consortium, Toronto
 14. July 2019, Quantitative Marketing and Structural Econometrics Workshop,
     Northwestern University
 15. June 2019, Marketing Science, Rome
 16. June 2019, Keynote Speaker, ZEW Conference on the Economics of Information and
     Communication Technologies, Mannheim
 17. June 2019 Keynote Speaker, Munich Summer Institute, Munich
 18. May 2019, Keynote Speaker, 3rd Doctoral Workshop on the Economics of Digitization,
     Brussels
 19. November 2019, FTC Hearings on Big Data, Privacy, and Competition


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20. October 2019, FTC Hearings on Platform Economics, George Mason University
21. June 2018, Antitrust and Big Data, Penn Wharton China Center Conference, Beijing
22. June 2018, Marketing Science
23. May 2018, Boston College Digital Innovation Workshop
24. December 2017, Mobile Marketing and Big Data Conference, NYU
25. September 2017, NBER Economics of AI Conference
26. July 2017, BU Platforms Conference
27. July 2017, NBER Digitization Meetings
28. June 2017, Marketing Science
29. June 2017, Regulation of Algorithms, Berlin
30. May 2017, Boston College Digital Innovation Workshop
31. November 2016, ICANN Public Meetings
32. October 2016, Conference on Digital Experimentation, Cambridge, MA
33. September 2016, FTC Consumer Protection Conference, Washington, DC
34. September 2016, George Washington roundtable on Platforms, Washington DC
35. May 2016, Competing with Big Data, Brugel, Brussels, Belgium
36. April 2016, NBER Innovation and Policy, Washington DC
37. April 2016, Financial Services Roundtable, NYC
38. March 2016, Digitization Tutorial, NBER
39. January 2016, PrivacyCon, FTC Conference, Washington, DC
40. July 2015, NBER Law and Economics (co-author presented), Cambridge, MA
41. July 2015, NBER Economics of Digitization, Cambridge, MA
42. June 2015, ‘The Future of Research in the Digital Society’, French Ministry of Culture
    and Communication - Toulouse School of Economics, Paris, France
43. June 2015, Marketing Science, Baltimore, MD
44. June 2015, Doctoral Consortium, Baltimore, MD
45. March 2015, IP Leadership Conference, Washington, DC
46. February 2015, Patents in Theory and Practice, Washington, DC
47. June 2014, Marketing Science, Atlanta, GA
48. May 2014, Boston College Social Media Workshop, Boston, MA
49. January 2014, American Economic Association Meetings
50. July 2013, Marketing Science, Istanbul, Turkey
51. June 2013, Searle Center Conference on Internet Search and Innovation, Chicago, IL
52. April 2013, Brown University Mini-Networks Conference
53. February 2013, WSDM 2013 Conference (Keynote Speaker), Rome, Italy
54. January 2013, American Economic Association Meetings, San Diego, CA (Co-author
    presented)
55. December 2012, New York Computer Science and Economics Day
56. November 2012, Search and Competition Conference, Melbourne Australia
57. October 2012, Economics of Personal Data, (Keynote Speaker), Amsterdam
58. August 2012, Amsterdam Symposium on Behavioral and Experimental Economics
59. July 2012, Fudan University Marketing Research Symposium, China
60. June 2012, Searle Center Conference on Internet Search and Innovation, Chicago, IL
61. June 2012, Innovation, Intellectual Property and Competition Policy Conference, Tilburg,
    Netherlands


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62. June 2012, Marketing Science, Boston, MA
63. June 2012, Social Media and Business Transformation, Baltimore, MD
64. May 2012, The Law and Economics of Search Engines and Online Advertising, George
    Mason University, Arlington, VA
65. February 2012, NBER Economics of Digitization (co-author presented), Cambridge, MA
66. January 2012, Symposium on Antitrust and High-Tech Industries, George Mason
    University, VA
67. January 2012, Patents, Standards and Innovation, Tucson, AZ
68. January 2012, Econometric Society Meetings, Chicago, IL
69. January 2012, AEA Meetings (2 papers), Chicago, IL
70. December 2011, Economics of Privacy Workshop, Boulder, CO
71. November 2011, Economics and Computation Day, Cambridge, MA
72. November 2011, HBS Strategy Research Conference, Boston, MA
73. November 2011, The Law and Economics of Internet Search and Online Advertising
    Roundtable, George Mason University, Arlington, VA
74. November 2011, Patents Statistics for Decision Makers, Alexandria, VA
75. October 2011, Workshop on Health IT and Economics, Washington, DC
76. October 2011, Innovation, Organizations and Society, University of Chicago, IL
77. October 2011, Direct Marketing Research Summit, Boston, MA
78. September 2011, Invited Session ‘Economics and Marketing’, EARIE, Stockholm, Sweden.
79. July 2011, NBER Economics of Digitization, Cambridge, MA
80. July 2011, SICS, Berkeley, CA
81. June 2011, The Law and Economics of Search Engines and Online Advertising, George
    Mason University, Arlington, VA
82. June 2011, Workshop on the Economics on Information Security, Washington, DC
83. June 2011, Marketing Science (3 papers), Houston, TX
84. June 2011, Searle Center Conference on Internet Search and Innovation, Chicago, IL
85. May 2011, Boston College Social Media Workshop, Boston, MA
86. May 2011, Technology Pricing Forum, Boston, MA
87. April 2011, NBER Innovation Policy and the Economy, Washington, DC
88. April 2011, International Industrial Organization Conference (3 papers), Boston, MA
89. March 2011, Technology Policy Institute, Washington, DC
90. February 2011, NBER Economics of Digitization (co-author presented), Palo Alto, CA
91. January 2011, Sixth bi-annual Conference on The Economics of Intellectual Property,
    Software and the Internet (2 papers, plenary speaker), Toulouse, France
92. January 2011, MSI Young Scholars Conference, Park City, UT
93. December 2010, Workshop on Information Systems and Economics, Washington
    University of St. Louis (co-author presented), St. Louis, MO
94. December 2010, OECD Economics of Privacy Roundtable, Paris, France
95. November 2010, Net Institute Conference, New York, NY
96. October 2010, Workshop on Media Economics and Public Policy (co-author presented),
    New York, NY
97. October 2010, Workshop on Health IT and Economics, Washington, DC
98. September 2010, ITIF and CAGW Privacy Working Group Meetings, Washington, DC
99. September 2010, Medical Malpractice Conference, Mohegan, CT


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100. September 2010, Search and Web Advertising Strategies and Their Impacts on Consumer
     Workshop, Paris, France
101. July 2010, NBER Meetings (IT), Cambridge, MA
102. July 2010, NBER Meetings (Healthcare and IT), Cambridge, MA
103. July 2010, SICS, Berkeley, CA
104. July 2010, Keynote Speaker, 8th ZEW Conference on the Economics of Information and
     Communication Technologies, Mannheim, Germany
105. June 2010, American Society of Health Economists Conference, Cornell, NY
106. June 2010, Marketing Science (2 papers), Koeln, Germany
107. June 2010, Workshop on the Economics of Information Security (2 papers), Harvard, MA
108. January 2010, AEA Meetings, Atlanta, GA
109. December 2009, Workshop on Information Systems and Economics, Scottsdale, AZ
110. November 2009, WPP/Google Marketing Awards, Cambridge, MA
111. July 2009, NBER meetings (IT), Cambridge, MA
112. June 2009, IHIF Debate on Privacy, Washington, DC
113. June 2009, Marketing Science, Ann Arbor, MI
114. April 2009, International Industrial Organization Conference, Boston, MA
115. January 2009, Information Security Best Practices Conference, Philadelphia, PA
116. January 2009, Modeling Social Network Data Conference, Philadelphia, PA
117. July 2008, NBER Meetings (Productivity), Cambridge, MA
118. July 2008, SICS, Berkeley, CA
119. July 2008, Fourth Workshop on Ad Auctions, Chicago, MA
120. June 2008, Marketing Science, Vancouver, BC
121. May 2008, International Industrial Organization Conference, Richmond, VA
122. April 2008, Net Institute Conference, New York, NY
123. November 2007, NBER Health Meetings (Co-author presented), Boston, MA
124. July 2007, SICS, Berkeley, CA
125. June 2007, Workshop on the Economics of Information Security, Pittsburgh
126. June 2007, Choice Symposium, Philadelphia, PA
127. May 2007, eCommerce Research Symposium, Stamford, CT
128. April 2007, Net Institute Conference, New York, NY
129. April 2007, International Industrial Organization Conference, Savannah, GA
130. March 2007, Health Economics Conference, Tucson, AZ
131. February 2007, NBER Winter Meetings, Palo Alto, CA
132. January 2007, Economics of the Software and Internet Industries (2 Papers), Toulouse,
     France
133. October 2006, QME Conference, Stanford University, CA
134. June 2006, Marketing Science, Pittsburgh, PA
135. April 2006, International Industrial Organization Conference, Boston, MA
136. October 2005, NEMC Conference, Boston, MA
137. October 2005, TPRC Conference, Washington, DC
138. June 2005, CRES Industrial Organization Conference, Washington University in St.
     Louis, MO
139. July 2002, Payment Systems Conference, IDEI, Toulouse, France



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P ROFESSIONAL S ERVICE
• Director of the program on the Economics of Digitization at The National Bureau of
  Economic Research.
• Co-Director of the program on the Artificial Intelligence at The National Bureau of
  Economic Research.
• Vice President (Education), ISMS 2019-2021
• Associate Editor: Management Science, Marketing Science, Journal of Marketing
  Research, International Journal of Research in Marketing
• Associate Editor: Information Systems Research, Special Issue on Social Media and
  Business Transformation
• Departmental Editor: Quantitative Marketing and Economics
• Editor: The Economics of the Internet, Palgrave Dictionary of Economics
• Co-Editor: NBER: The Economics of Digitization - An Agenda
• Co-Editor: Information Economics and Policy, Special Issue on Economics of Digital
  Media Markets
• Editorial Review Board: Journal of Marketing, ISR Special Issue on Managing Digital
  Vulnerabilities, Journal of Economic Literature

• Conference Program Committees
  – 2020 Co-organizer, NBER Conference on the Economics of Artificial Intelligence
  – 2020 Organizer, ISMS Doctoral Consortium
  – 2019 Co-organizer, NBER Conference on the Economics of Artificial Intelligence
  – 2019 Scientific Committee: ZEW Conference on the Economics of Information and
    Communication Technologies
  – 2019 Program Committee: Workshop on the Economics of Information Security
  – 2019 Scientific Committee: IP Statistics for Decision Makers
  – 2018 Co-organizer, NBER Conference on the Economics of Artificial Intelligence
  – 2017 Scientific Committee: IP Statistics for Decision Makers
  – 2017 Scientific Committee: ZEW Conference on the Economics of Information and
    Communication Technologies
  – 2017 Program Committee: Workshop on the Economics of Information Security
  – 2016 Program Committee: Workshop on the Economics of Information Security
  – 2016 Scientific Committee: ZEW Conference on the Economics of Information and
    Communication Technologies
  – 2015 Scientific Committee: Competition, Standardization and Innovation
  – 2015 Scientific Committee: Intellectual Property Statistics for Decision Makers
  – 2015 Associate Editor: ICIS 2015, Healthcare track
  – 2015 Scientific Committee: European Association for Research in Industrial Economics
  – 2015 Program Committee: ACM Conference on Economics and Computation
  – 2015 Program Committee: Workshop on the Economics of Information Security
  – 2015 Chief-Organizer: Quantitative Marketing and Economics Conference
  – 2015 Scientific Committee: ZEW Conference on the Economics of Information and
    Communication Technologies
  – 2014 Scientific Committee: European Association for Research in Industrial Economics
  – 2014 Scientific Committee: Conference on the Economics of Information and

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    Communication Technologies
  – 2014 Program Committee: International Conference on Big Data and Analytics in
    Healthcare
  – 2013 Program Committee: Quantitative Marketing and Economics
  – 2013 Scientific Committee: European Association for Research in Industrial Economics
    Conference
  – 2013 Scientific Committee: Conference on the Economics of Information and
    Communication Technologies
  – 2013 Program Committee: Workshop on the Economics of Information Security
  – 2013 Associate Editor of Personal Data Markets Track: ECIS 2013
  – 2012 Program Committee: European Association for Research in Industrial Economics
    Conference
  – 2012 Program Committee (Conference Organizer) NBER: The Economics of Digitization
    Pre-Conference, June 2012
  – 2012 Scientific Committee: Conference on the Economics of Information and
    Communication Technologies
  – 2012 Senior Program Committee: 13th ACM Conference on Electronic Commerce
  – 2012 Program Committee: Workshop on the Economics of Information Security
  – 2011 Scientific Committee: European Association for Research in Industrial Economics
    Conference
  – 2011 Scientific Committee: Conference on the Economics of Information and
    Communication Technologies
  – 2011 Program Committee: Ad Auctions Workshop
  – 2011 Program Committee: Workshop on the Economics of Information Security
  – 2010 Program Committee: Workshop on IT and Economic Growth
  – 2010 Program Committee: Conference on Health IT and Economics
  – 2010 Program Committee: Workshop on the Economics of Information Security
  – 2009 Program Committee: Workshop on the Economics of Information Security
  – 2008 Program Committee: Workshop on the Economics of Information Security
  – 2008 Program Committee: Ad Auctions Workshop

External Affiliations
• Affiliate: CESifo Research Network
• Advisory Board: Future of Privacy Forum


MIT S ERVICE
- 2015- Faculty Chair, PhD program
- 2015- EMBA Committee
- 2015- ASB Committee
- 2014- MIT Sloan Gender Equity Committee
- 2013-2014 Group Head, Marketing Group
- 2013-2014 Chair, Marketing Faculty Search Committee
- 2013-2014 MIT Committee on Undergraduate Admissions and Financial Aid


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- 2011 North East Marketing Conference Coordinator
- 2011 MIT Sloan Marketing Conference, Panel Moderator
- 2011 Sloan Women in Management Conference, Panel Moderator
- 2005, 2008, 2012 Marketing Faculty Search Committee


A DVISING
• 2019: Shuyi Yu, PhD Thesis supervisor
• 2016: Abhishek Nagaraj, PhD Thesis advisor
• 2012: Cristina Nistor, PhD Thesis advisor
• 2010: Katherine Molina, Masters Thesis
• 2008: Dinesh Shenoy, Masters Thesis
• 2007: James Kelm, Masters Thesis


G RANTS AND S UPPORT


Academic Grants
 2018         Sloan Foundation Grant (2018-2021), ‘NBER Project on         $914,250
              the Economics of Artificial Intelligence’ - Grant support-
              ing series of NBER Economics of AI Conferences. (Joint
              with Ajay Agrawal, Joshua Gans and Avi Goldfarb)
 2017         Net Institute Grant (Joint with Anuj Kapoor)                   $3,000
 2016         Net Institute Grant (Joint with Christian Catalini)            $6,000
 2013         MSI research Grant 4-1840 (Joint with Anja Lambrecht)         $10,200
 2011         Tilburg Law and Economics Center (TILEC) IIPC grant           $21,000
 2011         Google Grant                                                  $50,000
 2011         Junior Faculty Research Assistance Program                    $30,000
 2011         Net Institute Grant                                            $6,000
 2011         NBER Digitization Grant                                       $20,000
 2011         NSF CAREER Award                                             $502,000
 2010         Time-Warner Research Program on Digital Communica-            $20,000
              tions
 2010         Net Institute Grant                                            $6,000
 2009         Net Institute Grant                                            $6,000
 2009         The James H. Ferry, Jr. Fund for Innovation in Research       $50,000
              Education
 2009         Google/WPP Grant (Joint with Avi Goldfarb)                    $55,000
 2008         Net Institute Grant                                           $15,000
 2007         Net Institute Grant                                            $8,000
 2006         Net Institute Grant (Joint with Stephen Ryan)                  $8,000
Industry Research Grants




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 2015         CCIA Research: Research into Sustainable Competitive        $60,000
              Advantage and Big Data (Joint with Anja Lambrecht)
 2015         E-Logic: Research into Vertical Mergers and Patent Liti-    $60,000
              gation
 2014         CCIA Research: Research into Patent Litigation and En-     $100,000
              trepreneurship
 2012         Google Australia: Research into Measurement and Attri-      $50,000
              bution



E XPERT T ESTIMONY
• I have provided expert testimony for ADT, Bausch Health, Context Logic, Facebook, Lyft,
  Microsoft, Plaintiffs in Blue Cross Blue Shield Antitrust Litigation , Revizer, RDIC,
  Samsung, Sound Exchange, Verizon (Yahoo and AOL), US Debtors (Nortel Bankrupcy
  Proceedings) and Walworth Investments.


T EACHING
- 15.818, Pricing (MBA Elective) 2006-
- 15.732, Marketing Management for Senior Executives 2012-
- 15.726, Pricing (EMBA Elective) 2012-
- 15.838, Doctoral Seminar, Spring 2006, Fall 2007, Fall 2013
- Marketing Management, Asian School of Business, 2016
- Guest Lecturer: HST.936: Health information systems to improve quality of care in
  resource-poor settings, 2014
- Executive Education: Blockchain Technologies: Business Innovation and Application,
  2018-
- Executive Education: Marketing Innovation, 2016-
- Executive Education: Pricing 4dX, 2016-
- Executive Education: Strategic Marketing for the Technical Executive, 2012-2015
- Executive Education: Systematic Innovation of Products, Processes, and Services, 2013-
- Executive Education: Platform Strategy: Building and Thriving in a Vibrant Ecosystem,
  2014-
- Executive Education: Global Executive Academy (multi-language), 2013, 2014
- Executive Education: Entrepreneurship Development Program, 2012-
- Faculty Coach, Takeda Leadership Academy, 2016-18




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  Catherine Tucker Expert Testimony and Reports



1.   Broadcast Music, Inc. v. North American Concert Promoters Association., 18 Civ. 8749, Related to
     United States v. Broadcast Music, Inc., 64 Civ. 3787, United States District Court Southern
     District of New York
     - Expert Report (2021)

2.   dotStrategy, Co., Individually and On Behalf of All Other Similarly Situated, v. Facebook, Inc.,
      Case No. 20-cv-00170-WHA, United States District Court for the Northern District of California
      - Expert Report and Deposition (2021)

3.   Deborah Louise Douez, v. Facebook, Inc., Case No. VLC-S-S-122316, Supreme Court of British
     Columbia, Vancouver Registry
     - Expert Report and Cross-Examination (2021)

4.   SEAN RAD, Plaintiff/Counterclaim-Defendant, PAUL CAFARDO, GARETH JOHNSON,
     ALEXA MATEEN, JUSTIN MATEEN, and RYAN OGLE, Plaintiffs, v.
     IAC/INTERACTIVECORP, MATCH GROUP, INC., and MATCH GROUP, LLC,
     Defendants/Counterclaim-Plaintiffs. Index No. 654038/2018, Supreme Court of the State of New
     York, County of New York
     - Expert Report and Deposition (2021)

5.   TravelPass Group, LLC, Partner Fusion, Inc., Reservation Counter, LLC, v. Caesars Entertainment
     Corporation, Choice Hotels International, Inc., Hilton Domestic Operating Company Inc., Hyatt
     Hotels Corporation, Marriott International, Inc., Red Roof Inns, Inc., Six Continents Hotels, Inc.,
     Wyndham Hotel Group, LLC., Case No. 5:18-cv-152-RWS-CMC, United States District Court,
     Eastern District of Texas, Texarkana Division
     - Expert Report and Deposition (2021)

6.   DZ Reserve, and Cain Maxwell (d/b/a Max Martialis) individually and on behalf of others
     similarly situated v. Facebook, Inc., Case No. 3:18-cv-04978, United States District Court,
     Northern District of California
     - Expert Report and Deposition (2021)

7.   Integritymessageboard.com. LLC, v. Facebook, Inc., Case No. 4:18-cv-05286-PJH, United States
      District Court, Northern District of California
      - Expert Report and Deposition (2021)

8.   In re: Blue Cross Blue Shield Antitrust Litigation (MDL No. 2406), Master File No. 2:13-CV-
      20000-RDP, United States District Court, Northern District of Alabama, Southern Division
      – Expert Report and Deposition (2021)

9.   In Re: Glumetza Antitrust Litigation, Case No. 3:19-cv-05822-WHA, United States District Court
      for the Northern District of California
      – Expert Report and Deposition (2020)

10. In re Determination of Rates and Terms for Digital Performance of Sound Recordings and Making
     of Ephemeral Copies to Facilitate those Performances (Web V), Case No. 19-CRB-0005-WR
     (2021-2025), United States Copyright Royalty Judges, Washington, D.C.
     – Expert Reports and Deposition Testimony (2018, 2020), Expert Reports (2019, 2020), Deposition
        testimony (2020) and Hearing testimony (2020)

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11. Stephen Adkins, et al., v. Facebook, Inc., Case No. 18-CV-05982-WHA, United States District
    Court, Northern District of California
    – Expert Report and Deposition (2019)

12. Walworth Investments - LG, LLC vs Mu Sigma, Inc. and Dhiraj C. Rajaram, Defendant, Case No.
    2016-L-002470, Circuit Court of Cook County, Illinois County Department - Law Division
    – Expert Report (2019)

13. DealDash OYJ and DealDash Inc, Plaintiffs vs, Contextlogic Inc. d/b/a Wish,Defendant, Case No.
    18-cv-02353-MMC, District Court of Northern California
    – Expert Report and Deposition (2019)

14. Tri-City, LLC; and Endor Car and Driver, LLC, Petitioners v. New York City Taxi and Limousine
    Commission, Supreme Court of the State of New York and County of New York
    – Expert Report (2019)

15. In Re: Yahoo! Inc. Customer Data Security Breach Litigation, Case No. 16-md-02752-LHK United
    States District Court, Northern District of California, San Jose Division
    – Expert Report (2018)

16. In Re Disposable Contact Lens Antitrust Litigation. No. 3:15-md-2626-J-20JRK United States
    District Court, Middle District of Florida, Jacksonville Division
    – Expert Report and Deposition Testimony (2018)

17. In Re Appraisal of AOL Inc: Consolidated C.A. No. 11204-VCG. Chancery Court of Delaware
    – Expert Report, Deposition and Trial Testimony (2017)

18. Michael Edenborough v. ADT, LLC, d/b/a ADT Security Services, Inc. Case No: 3:16-cv- 02233-
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    – Declaration (2017)

19. YETI Coolers, LLC, v. RTIC Coolers, LLC, et al.Civil Action No. 1:15-cv- 00597-RP United
    States District Court Western District of Texas Austin Division
    – Expert Report and Deposition Testimony (2016)

20. Red Online Marketing Group LP, d/b/a 50onRED v. Revizer Ltd., d/b/a Ad Force Technologies,
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21. Matthew Campbell and Michael Hurley et al. v. Facebook, Inc. Case No. C 13-05996 PJH. United
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    – Expert Report and Deposition Testimony (2016)

22. GO Computer, Inc. et al. v. Microsoft Corporation Case No. CGC-05- 442684 Superior Court of the
    State Of California for the City and County of San Francisco
    – Expert Report and Deposition Testimony (2015)

23. Queen’s University at Kingston and PARTEQ Research and Development Innovations, v. Samsung
    Electronics Co., Ltd., et al. Civil Action No. 2:14-cv- 53-JRG- RSP
    – Expert Report and Deposition Testimony (2015)

24. Yahchaaroah Lightbourne, on behalf of himself and all other similarly situated, Plaintiff, v.

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      Printroom.com, Inc., Professional Photo Storefronts, Inc., Brand Affinity Technologies, Inc. and
      CBS Interactive Inc. E-2 Case No. SACV13-00876 JLS (RNBx) United States District Court,
      Central District of California
      – Expert Report (2015)

25. In re: Chapter 11, Nortel Networks, Inc., et al., Debtors, U.S. Bankruptcy Court, District of
    Delaware, Case No. 09-10138(KG) (Jointly Administered), Re Dkt No. 13208
    – Expert Report, Deposition and Trial Testimony (2014)

26. Angel Fraley, et al., Plaintiffs, v. Facebook, Inc., a corporation; and DOES 1-100, Defendants, U.S.
    District Court, Northern District of California, Case No. 5:11-cv- 01726-LHK
    – Expert Report and Deposition Testimony (2012)




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                                        Appendix B
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Court Documents
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Consumer Plaintiff Laura Gononian’s Third Supplemental Responses to Marriott Defendants’
        First Set of Interrogatories to Consumer Plaintiffs, In Re: Marriott International Inc.,
        Customer Data Security Breach Litigation, MDL No. 19-md-2879, March 22, 2021.
Video recording of a meeting between Parties, members of their clients’ staffs, and potential
        witnesses, In Re: Marriott International Inc., Customer Data Security Breach Litigation,
        MDL No. 19-md-2879, April 20, 2021.
Marriott Defendants’ Amended Response to Consumer Plaintiffs’ First Set of Interrogatories, In
        Re: Marriott International Inc., Customer Data Security Breach Litigation, MDL No. 19-
        md-2879, May 19, 2021.
Consumer Plaintiff Roger Cullen’s Fourth Supplemental Responses to Marriott Defendants’ First
        Set of Interrogatories to Consumer Plaintiffs, In Re: Marriott International Inc.,
        Customer Data Security Breach Litigation, MDL No. 19-md-2879, May 20, 2021.
Marriott Defendants’ Supplemental Responses to Consumer, Financial Institution, and
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Consumer Plaintiff Brent Long’s Seventh Supplemental Responses to Marriott Defendants’ First
        Set of Interrogatories to Consumer Plaintiffs, In Re: Marriott International Inc.,
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Consumer Plaintiff Michaela Bittner’s Fourth Supplemental Responses To Marriott Defendants’
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        Customer Data Security Breach Litigation, MDL No. 19-md-2879, June 14, 2021
Consumer Plaintiff Bryan Wallace’s Sixth Supplemental Responses To Marriott Defendants’
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        Customer Data Security Breach Litigation, MDL No. 19-md-2879, June 21, 2021
Consumer Plaintiff Robert Guzikowski’s Fifth Supplemental Responses To Marriott Defendants’
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        Customer Data Security Breach Litigation, MDL No. 19-md-2879, June 22, 2021
Plaintiff and Defendant Interrogatories, In Re: Marriott International Inc., Customer Data
        Security Breach Litigation, MDL No. 19-md-2879.
Plaintiff and Defendant Requests for Production, In Re: Marriott International Inc., Customer
        Data Security Breach Litigation, MDL No. 19-md-2879.
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Corrected Memorandum in Support of Bellwether Plaintiffs’ Motion for Class Certification, In
       Re: Marriott International Inc., Customer Data Security Breach Litigation, MDL No. 19-
       md-2879, July 19, 2021.


Expert Reports
Expert Class Certification Report and Supporting Materials of Jeffrey T. Prince, Ph.D., In Re:
       Marriott International Inc., Customer Data Security Breach Litigation, MDL No. 19-md-
       2879, July 12, 2021.
Expert Report and Supporting Materials of Sarah Butler, In Re: Marriott International Inc.,
       Customer Data Security Breach Litigation, MDL No. 19-md-2879, July 12, 2021.


Depositions
Deposition and Exhibits of James Perry, In Re: Marriott International Inc., Customer Data
       Security Breach Litigation, MDL No. 19-md-2879, March 31, 2021.
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Deposition and Exhibits of Peter Maldini, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Roger Cullen, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Erick C. Lawing, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Irma Lawrence, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Eric Fishon, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Brent Long, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Kathleen Hevener, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Denitrice Marks, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Michaela Bittner, In Re: Marriott International Inc., Customer Data
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Deposition and Exhibits of Bryan Wallace, In Re: Marriott International Inc., Customer Data
       Security Breach Litigation, MDL No. 19-md-2879, June 22, 2021.
Deposition and Exhibits of Robert Guzikowski, In Re: Marriott International Inc., Customer
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Deposition and Exhibits of David Viggiano, In Re: Marriott International Inc., Customer Data
       Security Breach Litigation, June 30, 2021.
Deposition and Exhibits of Maria Maisto, Volume 2, In Re: Marriott International Inc.,
       Customer Data Security Breach Litigation, MDL No. 19-md-2879, July 7, 2021.
Deposition and Exhibits of Jeffrey T. Prince, Ph.D., In Re: Marriott International Inc., Customer
       Data Security Breach Litigation, MDL No. 19-md-2879, August 13, 2021.
Deposition and Exhibits of Sarah Butler, In Re: Marriott International Inc., Customer Data
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MI_MDL_02490397 – MI_MDL_02490408
MI_MDL_02490480 – MI_MDL_02490484
MI_MDL_02490509 – MI_MDL_02490511
MI_MDL_02490539 – MI_MDL_02490540
MI_MDL_02490565 – MI_MDL_02490566
MI_MDL_02490589 – MI_MDL_02490598
MI_MDL_02490619 – MI_MDL_02490624
MI_MDL_02490661 – MI_MDL_02490667
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MI_MDL_02490689 – MI_MDL_02490691
MI_MDL_02490703
MI_MDL_02490711 – MI_MDL_02490712
MI_MDL_02490721 – MI_MDL_02490723
MI_MDL_02490744 – MI_MDL_02490745
MI_MDL_02490764 – MI_MDL_02490766
MI_MDL_02490792 – MI_MDL_02490794
MI_MDL_02490815 – MI_MDL_02490816
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MI_MDL_02490828
MI_MDL_02490836 – MI_MDL_02490837
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MI_MDL_040 (MI_MDL_02497343 – MI_MDL_02497538)
MI_MDL_042 (MI_MDL_02497788 – MI_MDL_02497857)
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